Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 1 of 91 PageID #:15




                EXHIBIT A
FILED DATE: 9/27/2021 9:05 AM 2021L009092     Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 2 of 91 PageID #:16




                                            2120 - Served                    2121 - Served              2620 - Sec. of State
                                            2220 - Not Served                2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail            2321 - Served By Mail
                                            2420 - Served By Publication     2421 - Served By Publication
                                            Summons - Alias Summons                                                 (12/01/20) CCG 0001 A


                                                                IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            MICHAEL A. LUMPKINS


                                                                                   Plaintiff(s)                                            :r-..,
                                                                                                                                            -...=
                                                                    V.                                                                      cp
                                                                                                  Case No.   2021 L 009092                  t.--...L
                                            IUUL LABS INC., et al.                                                                               t


                                                                                Defendant(s)
                                            See attached Service List                                                                          <0


                                                                    Address of Defendant(s)
                                            Please serve as follows (check one): 0 Certified Mail ® Sheriff Service 0 Alias
                                                                                      SUMMONS
                                            To each Defendant: See attached Service List
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance,in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                            THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE.You will need: a computer with internet access; an email address; a completed
                                            Appearance form that can be found at http://wwwillinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.




                                                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                           Page 1 of 3
                                                      Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 3 of 91 PageID #:17

                                            Summons - Alias Summons                                                                          (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htrn to learn more and to select a service
                                            provider.
FILED DATE: 9/27/2021 9:05 AM 2021L009092




                                            If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
                                            your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                            illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
                                            date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
                                            office is open Mon - Fri, 8:30 am - 4:30 pm,except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                            register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                            appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any,immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summOns may not be served later than thirty (30) days after its date.




                                            0 Atty. No.: 64554                                             Witness date
                                            0 Pro Se 99500
                                            Name: Brian LaCien           Smith LaCien LLP                          9/27/2021 9:05 AM IRIS Y. MARTINEZ

                                            Atty. for (if applicable):                                                IRIS Y. MART              rk of Court
                                            Madelene H. Tadros                                             LIService by Certifie

                                            Address: 70 W. Madison Street, Ste. 2250                       I=1 Date of Service:
                                                                                                             (To be inserted by officer on      employer or other person)
                                            City: Chicago

                                            State:   IL    zip: 60602

                                            Telephone: 312-509-8900

                                            Primary Email: blacien@smithlacien.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                        cookcountyclerkofcourt.org
                                                                                                     Page 2 of 3
                                                     Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 4 of 91 PageID #:18


                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you do
FILED DATE: 9/27/2021 9:05 AM 2021L009092




                                            not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                       DISTRICT 2- SKOKIE
                                            Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                            CIVIL DIVISION                               Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3- ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                                Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                     DISTRICT 4- MAYWOOD
                                            Gen. Info: (312) 603-5710                                    Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                                                             DIVISION                                              DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                              OR
                                                              ChildSupCourtDate@cookcountycourt.com
                                                                                                         Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                               DISTRICT 6- MARKHA1VI

                                                        DOMESTIC VIOLENCE                                Court date EMAIL: D6CourtDate@cookcountycourt.com
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info: (708) 232-4551
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                  Page 3 of 3
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 5 of 91 PageID #:19




                                            Lumpkins v. Altria Client Services, LLC, et al.
FILED DATE: 9/27/2021 9:05 AM 2021L009092




                                            SERVICE LIST FOR SUMMONS

                                            Altria Client Services LLC
                                            do Capital Corporate Services, Inc.
                                            1315 W. Lawrence Avenue
                                            Springfield, IL 62704


                                            Altria Group Distribution Company
                                            c/o Capital Corporate Services, Inc.
                                            1315 W. Lawrence Avenue
                                            Springfield, IL 62704


                                            CEP America-Illinois, LLP
                                            do Registered Agent Solutions, Inc.
                                            3000 Professional Dr.
                                            Suite A
                                            Springfield, IL 62704


                                            CEP America LLC (Vituity)
                                            Registered Agent Solutions, Inc.
                                            3000 Professional Drive
                                            Suite A
                                            Springfield, IL 62704


                                            Walgreen Co.
                                            c/o Illinois Corporation Service Company
                                            801 S. Adlai Stevenson Drive
                                            Springfield, IL 62703


                                            Philip Morris USA Inc.
                                            c/o Capital Corporation Services, Inc.
                                            1315 W. Lawrence Ave.
                                            Springfield, IL 62704


                                            Dr. Leigh Alan Halpern, MD
                                            15 Estate Dr.
                                            Deerfield, IL 60015
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 6 of 91 PageID #:20




                                            Dr. Darren Blair Van Beek, MD
FILED DATE: 9/27/2021 9:05 AM 2021L009092




                                            312 E. Cullerton Street
                                            Unit C
                                            Chicago, IL 60616


                                            Radiology & Nuclear Consultants, Ltd.
                                            c/o CT Corporation System
                                            208 S. LaSalle Street, Suite 814
                                            Chicago, IL 60604


                                            McLane Company, Inc.
                                            c/o CT Corporation System
                                            208 S. LaSalle Street
                                            Suite 814
                                            Chicago, IL 60604


                                            Eby-Brown Company, LLC
                                            do National Registered Agents, Inc.
                                            208 S. LaSalle Street, Suite 814
                                            Chicago, IL 60604


                                            Juul Labs, Inc.
                                            do The Corporation Trust Company
                                            1209 Orange Street.
                                            Wilmington, DE 19801


                                            Core-Mark Holding Company,Inc.
                                            do National Registered Agents, Inc.
                                            1209 Orange Street
                                            Wilmington, DE 19801


                                            Altria Group, Inc.
                                            do Capital Corporation Services, Inc.
                                            10 S. Jefferson Street
                                            Suite 1400
                                            Roanoke, VA 24011
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 7 of 91 PageID #:21




                                            Altria Enterprises, LLC
                                            do Capital corporation Services, Inc.
FILED DATE: 9/27/2021 9:05 AM 2021L009092




                                            10 S. Jefferson Street
                                            Suite 1400
                                            Roanoke, VA 24011

                                            Alternative Ingredients, Inc.
                                            do Robin W. Conner
                                            2826 S. Elm-Eugene Street
                                            Greensboro, NC 27406

                                            Mother Murphy's Laboratories, Inc.
                                            do Robin W. Conner
                                            2826 S. Elm-Eugene Street
                                            Greensboro, NC 27406

                                            Tobacco Technology, Inc.
                                            do Gregory M. Garrett, Esq.
                                            c/o Tydings & Rosenberg, LLP
                                            1 E. Pratt Street, Suite 901
                                            Baltimore, MD 21202

                                            Eliquitech, Inc.
                                            c/o Gregory M. Garrett, Esq.
                                            c/o Tydings & Rosenberg, LLP
                                            1 E. Pratt Street, Suite 901
                                            Baltimore, MD 21202
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 8 of 91 PageID #:22
                                                                                   12-Person Jury


                                                                                                    FILED
                                                                                                    9/10/2021 8:29 PM
                                                       IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                                                    CIRCUIT CLERK
                                                             COUNTY DEPARTMENT,LAW DIVISION
                                                                                                    COOK COUNTY, IL
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                                                                     14780024
                                            MICHAEL A. LUMPKINS

                                                                                                                     2021L009092
                                                   Plaintiff,                                             Case No.

                                            V.                                                            JURY DEMANDED

                                            JUUL LABS, INC., previously d/b/a as PAX LABS,INC.
                                            and PLOOM INC, individually, and by and through the
                                            actions and/or omissions of its actual agents, apparent
                                            agents, and or employees; ALTRIA GROUP,INC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; PHILIP MORRIS USA,INC., individually,
                                            and by and through the actions and/or omissions of its
                                            actual agents, apparent agents, and/or employees;
                                            ALTRIA CLIENT SERVICES LLC, individually, and
                                            by and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees; ALTRIA
                                            GROUP DISTRIBUTION COMPANY,individually, and
                                            by and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees; ALTRIA
                                            ENTERPRISES LLC, individually, and by and through
                                            the actions and/or omissions of its actual agents, apparent
                                            agents, and/or employees; MOTHER MURPHY'S LABS,
                                            INC., individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; ALTERNATIVE INGREDIENTS,INC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; TOBACCO TECHNOLOGY,INC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; ELIQUITECH, INC., individually, and by and
                                            through the actions and/or omissions of its actual agents,
                                            apparent agents, and/or employees; MCLANE
                                            COMPANY,INC., individually, and by and through the
                                            actions and/or omissions of its actual agents, apparent
                                            agents, and/or employees; EBY-BROWN COMPANY,
                                            LLC, individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; CORE-MARK HOLDING
                                            COMPANY,INC., individually, and by and through the
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 9 of 91 PageID #:23




                                            actions and/or omissions of its actual agents, apparent
                                            agents, and/or employees; WALGREENS CO.,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents,
                                            and/or employees; PALOS COMMUNITY HOSPITAL
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN
                                            MEDICINE PALOS HOSPITAL, individually, and by
                                            and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees, including
                                            without limit, LEIGH A. HALPERN, M.D., DARREN
                                            B. VAN BEEK, M.D.; LEIGH A. HALPERN, M.D.,
                                            individually, and as actual agent, apparent agent, and/or
                                            employee of PALOS COMMUNITY HOSPITAL
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN
                                            MEDICINE PALOS HOSPITAL, CEP AMERICA-
                                            ILLINOIS, LLP, and/or CEP AMERICA LLC d/b/a
                                            VITUITY; CEP AMERICA-ILLINOIS, LLP, individually,)
                                            and by and through the actions and/or omissions of its     )
                                            actual agents, apparent agents, and/or employees, including,)
                                             without limit, LEIGH A. HALPERN, M.D.; CEP                )
                                            AMERICA LLC d/b/a VITUITY, individually, and by            )
                                            and through the actions and/or omissions of its actual     )
                                            agents, apparent agents, and/or employees, including,      )
                                            without limit, LEIGH A. HALPERN, M.D.; DARREN B. )
                                            VAN BEEK, M.D., individually, and as actual agent,         )
                                            apparent agent, and/or employee of PALOS                   )
                                            COMMUNITY HOSPITAL d/b/a PALOS HOSPITAL                    )
                                            d/b/a NORTHWESTERN MEDICINE PALOS                          )
                                            HOSPITAL, and/or RADIOLOGY & NUCLEAR                       )
                                            CONSULTANTS,LTD.; and/or RADIOLOGY &                       )
                                            NUCLEAR CONSULTANTS, LTD., including, without )
                                            limit, DARREN B. VAN BEEK, M.D.                            )
                                                                                                       )
                                                    Defendants.                                        )


                                                                                COMPLAINT AT LAW

                                                   NOW COMES the Plaintiff, MICHAEL LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, and complaining of the Defendant, JUUL LABS, INC., previously d/b/a

                                            as PAX LABS, INC. and PLOOM INC., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents and/or employees; ALTRIA GROUP, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                                                                             2
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 10 of 91 PageID #:24




                                            and/or employees; PHILIP MORRIS USA, INC., individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; ALTRIA CLIENT
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            SERVICES LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; ALTRIA GROUP DISTRIBUTION COMPANY,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; ALTRIA ENTERPRISES LLC, individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; MOTHER MURPHY'S

                                            LABS, INC., individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees; ALTERNATIVE INGREDIENTS,INC., individually, and by

                                            and through the actions and/or omissions of its actual agents, apparent agents, and/or employees;

                                            TOBACCO TECHNOLOGY,INC. individually,                and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees; ELIQUITECH, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; MCLANE COMPANY, INC., individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; EBY-BROWN

                                            COMPANY, LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; CORE-MARK HOLDING COMPANY, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; WALGREENS CO., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees; PALOS COMMUNITY

                                            HOSPITAL d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN MEDICINE PALOS

                                            HOSPITAL, individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, LEIGH A. HALPERN, M.D.,



                                                                                             3
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 11 of 91 PageID #:25




                                            DARREN B. VAN BEEK, M.D.; LEIGH A. HALPERN, M.D., individually, and as actual agent,

                                            apparent agent, and/or employee of PALOS COMMUNITY HOSPITAL d/b/a PALOS
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            HOSPITAL d!b/a NORTHWESTERN MEDICINE PALOS HOSPITAL, CEP AMERICA-

                                            ILLINOIS, LLP,and/or CEP AMERICA LLC d/b/a VITUITY; CEP AMERICA-ILLINOIS,LLP,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees, including, without limit, LEIGH A. HALPERN, M.D.; CEP AMERICA LLC

                                            d/b/a VITUITY, individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including, without limit, LEIGH A. HALPERN, M.D.;

                                            DARREN B. VAN BEEK, M.D., individually, and as actual agent, apparent agent, and/or

                                            employee of PALOS           COMMUNITY         HOSPITAL       d/b/a PALOS       HOSPITAL        d/b/a

                                            NORTHWESTERN MEDICINE PALOS HOSPITAL, and/or RADIOLOGY & NUCLEAR

                                            CONSULTANTS, LTD.; and/or RADIOLOGY & NUCLEAR CONSULTANTS, LTD.,

                                            including, without limit, DARREN B. VAN BEEK, M.D., pleading hypothetically and in the

                                            alternative, states as follows:

                                                                             GENERAL ALLEGATIONS
                                                                                     Introduction
                                                    1.      Until 2014, rates of smoking and nicotine addiction were at an all time low.

                                            However, the launch of the e-cigarette produce by JUUL LABS INC.,("JUUL"), change this.

                                                   2.       Adam Bowen ("Bowen") and James Monsees ("Monsees") viewed this declining

                                            industry as an opportunity to market their new JUUL e-cigarette product.

                                                   3.      Bowen and Monsees succeeded in creating and marketing their product with the

                                            help of early investors and board members, Nicolas Pritzker ("Pritzker"), Huyong Huh ("Huh"),

                                            and Riaz Valani ("Valani"), which caused the addition of millions of youths, stopped millions of

                                            adults from overcoming their nicotine addictions, and earned billions of dollars in profits.



                                                                                             4
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 12 of 91 PageID #:26




                                                    4.       Monsees, cofounded Ploom, Inc. with defendant, Bowen, and he served as Chief

                                            Executive Officer of JUUL until October 2015. Since October 2015, Monsees has been a Chief
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            Product Officer of JUUL. At all times relevant, Monsees has been a member of the Board of

                                            Directors of JUUL or its predecessors.

                                                    5.       At all times relevant, Bowen served as both the Chief Technology Officer and a

                                            member of the Board of Directors of JUUL or its predecessors.

                                                    6.       In 2007, Pritzker invested in JUUL

                                                    7.       Since at least 2015, Huh has been on the Board of Directors of JUUL or its

                                            predecessors.

                                                    8.       Since at least May 2011, Valani has been on the Board of Directors of JUUL or its

                                            predecessors.

                                                    9.       Together Monsees, Bowen, Pritzker, Huh, and Valani are referred to as the

                                            Management.

                                                    10.      JUUL had the help of ALTRIA, a cigarette giant, who the JUUL founders praised

                                            for creating "the most successful consumer product of all time...an amazing product."2

                                                    1 1.     JUUL founder Monsees claims that JUUL e-cigarettes are "one of the greatest

                                            advances in public health in our lifetime."3




                                              Ainsley Harris, How JUUL went from a Stanford thesis to $16 billion startup, Fast Company(March 8, 2020
                                            4:11PM PST), https://www.fastcompany.com/90263212/how-JUUL-went-froma-stanford-thesis-to-16-billion-
                                            startup.
                                            2 Chaykowski, Billionaires-to-be: Cigarette breakers - James Monsees and Adam Bowen have

                                            cornered the US e-cigarette market with Juul. Up next: The world, FORBES Magazine (Sep 27,
                                            2018), www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-breakers/51425/1 (as
                                            of July 5, 2019).
                                            3 Id.

                                                                                                  5
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 13 of 91 PageID #:27




                                                      12.       Nicotine is the chemical that is the fundamental reason that people persist in using

                                            tobacco products posing the risk of pulmonary injuries, cardiovascular disease and other serious,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            and often fatal conditions.

                                                      13.       Nicotine addiction causes repeated exposure to the toxins and aerosols contained in

                                            JUUL e-cigarettes' vapor.

                                                      14.       In an article published by The Journal of Physiology, researchers state that

                                            "electronic vaporization of nicotine likely promotes the same addictive behaviors as nicotine

                                            exposure through conventional means,resulting in increased chronic/repeated use, which will have

                                            deleterious effects in the brain and lung."4

                                                      15.       Similarly, recent studies suggest that there are undoubtedly toxic effects of

                                            electronic cigarette vapor exposure on vital organs, but there has also been demonstrated evidence

                                            that "e-Cig vaping could alter BBB permeability and worsen ischemic brain injury."5

                                                      16.       A further study showed that "Chronic e-Cig vaping could be prodromal to

                                            cerebrovascular impairment and promote cerebrovascular conditions that favor the onset of stroke

                                            and post-ischemic brain injury."6

                                                      17.       Research done on mice suggests that "inhalation of E-cigarette vapor daily for 1

                                            month leads to systemic alterations in host defenses with diminished recruit of murine neutrophils




                                             Herman, M., & Tarran, R.(2020). E-cigarettes, nicotine, the lung and the brain: Multi-level cascading
                                            pathophysiology. The Journal of Physiology, 598(22), 5063-5071. DOI: 10.1113/JP278388.
                                             Sifat, A., Vaidya, B., Kaisar, M.A., Cucullo, L., & Abbruscato, T.(2018). Nicotine and electronic cigarette (E-Cig)
                                            exposure decreases brain glucose utilization in ischemic stroke. Journal of Neurochemistry, 147, 204-
                                            221. D01:10.1111/jnc.14561.
                                            6 Kaisar, M.A., Villalba, H., Prasad, S., Liles, T., Sifat, A.E., Sajja, R.K., Abbriscato, Ti., & Cicullo, L.(2017). Offsetting
                                            the impact of smoking and e-cigarette vaping on the cerebrovascular system and stroke injury: Is Metformin a
                                            viable countermeasure? Redox Biology, 13, 353-362. DOI: 10.1016/j.redox.2017.06.006


                                                                                                           6
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 14 of 91 PageID #:28




                                            to the site of bacterial infection."' This study showed that smoking e-cigarettes weakens the

                                            consumers immune system, thus making them more susceptible to infections and the progression
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            of infections.

                                                     1 8.     A further study looked to the effect of e-cigarette aerosols on the immune system

                                            and found that e-cigarette users had a "higher abundance of Porphyromonas and Veillonella than

                                            compared to non-users and users of e-cigarettes had highly elevated levels of Interleukin (IL)-6

                                            and IL-113."8 The study concludes that Epithelial cells-exposed e-cigarette aerosols were more

                                            susceptible for infection and the progression of infections, meaning that"e-cigarette users are more

                                             prone to infection."9

                                                     19.      Streptococcus Intermedius infection is known to be a cause of brain abscess.")

                                            Typically, the species is present inside the human body and only becomes pathogenic when its

                                            "virulence factors — including hyaluronic acid, deoxyribonuclease, and chondroitin sulfate — are

                                            activated."11

                                                     20.      A study found that Streptococcus mutans cells grew at a faster rate when exposure

                                             to nicotine-rich e-cigarettes. In fact, the "biofilm mass ranged from 8 ± 0.5 mg with the control to

                                            47 ± 5 mg after six exposures to nicotine-rich e-cigarettes."12



                                              Ross Corriden, et. al., E-cigarette use increases susceptibility to bacterial infection by impairment of human
                                            neutrophil chemotaxis, phagocytosis, and NET formation, American Physiological Society,(October 22, 2020),
                                            journals.physiology.orghournaliajpcell
                                            8 Smruti Pushalkar, et. al., Electronic Cigarette Aerosol Modulates the Oral Microbiome and Increases Risk of

                                            Infection,(March 27, 2020), https://www.cell.com/iscience/fulltext/S2589-0042(20)30068-
                                            7?_returnURL=https%3A%2F%2Flinkinghub.elsevier.com%2Fretrieve%2Fpii%2FS2589004220300687%3Fshowall%
                                            3Dtrue
                                            9 Id.

                                               Tobe Momah, MD, Brain Abscess Due to Streptococcus Intermedius Infection, Neurology Consultant,(December
                                            5,2018), https://www.consultant360.com/article/consultant360/brain-abscess-due-streptococcus-intermedius-
                                            infection?page=2
                                            "Id.
                                            12
                                               Mahmoud Rouabhia, Abdelhabib Semlali, Electronic cigarette vapor increases Streptococcus mutans growth,
                                            adhesion, biofilm formation, and expression of the biofilm-associated genes, Oral Diseases,(July 19, 2020),
                                            https://onlinelibrary.wiley.com/doi/10.1111/odi.13564

                                                                                                    7
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 15 of 91 PageID #:29




                                                    21.     Products designed by JUUL were intended to create addiction, not break it by
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            developing nicotine formulas and delivery methods that are much stronger than combustible

                                            cigarettes while being less harsh on the throat.

                                                    22.     In marketing its products JUUL, along with Bowen, Monsees, Pritzker, Huh,

                                            Valani, and ALTARIA, engaged in a campaign of deceit through channels of mass media and

                                            social media communication, advertisements, and/or otherwise where they showed JUUL products

                                            alongside healthy meals, coffee, positioning JUUL products as part ofa daily routine, and claiming

                                            JUUL products to be as safe as coffee.

                                                    23.     JUUL led a marketing campaign called "Make the Switch" which mislead

                                            consumers into thinking that JUUL products were benign smoking cessation devices, even though

                                            JUUL never designed its products to break addiction.

                                                   24.      JUUL partnered with veteran cigarette industry marketers including, but not limited

                                            to, ALTARIA and PHILIP MORRIS USA,INC.("PHILIP MORRIS"), to ensure premium shelf

                                            space for its products to lure in e-cigarette users.

                                                   25.      Overall JUUL's marketing efforts were very successful and when JUUL was

                                            experiencing its greatest growth in sales, most adults and youths believed that e-cigarettes did not

                                            contain nicotine at all.

                                                   26.      JUUL deceived users of JUUL products into believing that breathing the aerosol is

                                            as harmless as puffing room air but this is not the case. Not only are the flavors in the JUUL

                                            products themselves toxic and dangerous, but they have never been adequately tested to ensure

                                            they are safe for inhalation.




                                                                                               8
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 16 of 91 PageID #:30




                                                     27.      It is well established that flavoring additives and raw ingredients used in JUUL e-

                                            liquids are known causes of lung injuries when inhaled in the workplace setting."
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                     28.      Safety and toxicity analyses in the context of flavored e-liquids have also been

                                            published in medical and scientific literature.

                                                     29.      In 2016, Tierney, et al., performed an analysis of the ingredients in several popular

                                            flavors and brands of e-cigarettes. They found that the concentration of artificial flavor chemicals

                                            in e-cigarette fluids are sufficiently high for inhalation exposure by vaping to be of toxicological

                                            concern. Also, the researchers found that certain flavoring additives appeared to be popular across

                                            all brands such as vanillin, ethyl vanillin, maltol and ethyl maltol, benzaldehyde and benzyl

                                            alcohol, ethyl butyrate and ethyl acetate. A review ofthe JUUL master formulations and ingredient

                                            lists for flavored JUUL pods identify many of these same popular toxic ingredients studied by

                                            Tierney.14

                                                     30.      A 2018 study examined the effect of popular e-cigarette flavoring on cells. The

                                            authors found that cell exposure to diacetyl, cinnamaldehyde, acetoin, pentanedione, o-vanillin,

                                            maltol, and coumarin without nicotine caused cytotoxicity dose-dependently. Mixing a greater

                                            variety of flavors resulted in an even greater cytotoxicity and cell-free ROS levels compared to

                                            treatments with individual flavors.'




                                            13
                                               Flavorings-Related Lung Disease, Exposure To Flavoring Chemicals: What Are Flavorings?, National Institute for
                                            Occupational Safety and Health (October 3, 2017), https://www.cdc.goviniosh/topics/flavorings/exoosure.html
                                            14
                                               Peyton A Tierney, et al., Flavour chemicals in electronic cigarette fluids, lob Control, 25:e10-e15, Apr. 15, 2015.
                                               Thivanka Muthumalage, et at., Inflammatory and Oxidative Responses Induced by Exposure to Commonly Used
                                            e-Cigarette Flavoring Chemicals and Flavored e-Liquids without Nicotine, 8 Frontiers in Physiology 1130(2018).

                                                                                                      9
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 17 of 91 PageID #:31




                                                         31.      Talih, et al. analyzed the characteristics and toxicant emissions of JUUL and found

                                                that JUUL aerosol contained numerous toxic carbonyl compounds including formaldehyde,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                acetaldehyde and acetone, all known carcinogens.I6

                                                         32.      Another study published in 2019 examined the artificial flavoring additives in

                                                eliquids in JUUL pods. The authors concluded that the cumulated data suggested that artificial

                                                flavors induce oxidative stress, inflammation, epithelial barrier dysfunction, and DNA damage in

                                                lung cells. Specifically, JUUL crème brulee and cool cucumber caused epithelial barrier

                                                dysfunction in 16-HBE cells. Moreover, all flavors damaged DNA upon exposure in monocytes.

                                                The findings included increased mitochondrial superoxide generation, IL-8 inflammatory cytokine

                                                response, 1L-8 inflammatory cytokine response in monocytes, and OGE2 response in monocytes.

                                                All findings are a known cause of acute and chronic lung injuries, as well as other serious and

                                                significant injuries.I7

                                                         33.      A number of other studies have examined the effects of exposure to inhaled

                                                flavoring additives in e-liquids and determined that inhalation of flavoring additives in e-cigarette

                                                aerosol carry a significant risk of toxicity and other injuries.I8




                                                16
                                                Talih S, Salman R, El-Nage R, et al., Characteristics and toxicant emissions of JUUL electronic cigarettes, Tobacco
                                             Control 2019;28:678-680.
                                             17 Thivanka Muthumalage, et al., E-cigarette flavored pods induce inflammation, epithelial barrier dysfunction, and

                                             DNA damage in lung epithelial cells and monocytes, Scientific Reports, 9:19035 (Feb. 1, 2019).
                                            '   Jessica L. Fetterman, et al., Flavorings in Tobacco Products Induce Endothelial Cell Dysfunction, Arterioscler
                                            Thromb Vasc Biol (July 2018); Isaac Sundar, et al., E-cigarettes and flavorings induce inflammatory and
                                             prosenescence responses in oral epithelial cells and periodontal fibroblasts, Oncotarget, 7(47): 77196-204(Oct. 24,
                                            2016); Hae-Ryung Park, et al., Transcriptomic response of primary human airway epithelial cells to flavoring
                                            chemicals in electronic cigarettes, Scientific Reports, 9:1400,(Feb. 1, 2019); Chad A. Lerner, et al., Vapors Produced
                                             by Electronic Cigarettes and E-Juices with Flavorings Induce Toxicity, Oxidative Stress, and Inflammatory Response
                                             in Lung Epithelial Cells and in Mouse Lung, PLoS ONE, 10(2): e0116732,(Feb. 6, 2015); Michael S. Werley, et al.,
                                            Toxicological assessment of a prototype e-cigaret device and three flavor formulations: a 90-day inhalation study in
                                             rats, Inhalation Toxicology, 28(1), 22-28,(Jan. 18, 2016); Wavreil FDM, Heggland Si, Cinnamonflavored electronic
                                            cigarette liquids and aerosols induce oxidative stress in human osteoblastlike MG-63 cells, Toxicology Reports
                                            (2019), doi: https://doi.org/10.1016/j.toxrep.2019.11.019; Behar, et al., Analytical and toxicological evaluation of
                                            flavor chemicals in electronic cigarette refill fluids, Scientific Reports,(May 29, 2018).

                                                                                                        10
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 18 of 91 PageID #:32




                                                      34.      In addition, there is evidence that combining a number of flavoring additives into

                                             an e-liquid formulation can significantly increase toxicity.I9
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                      35.      Despite the body of evidence demonstrating a significant risk associated with the

                                            flavoring additives used in JUUL e-liquids, JUUL, ALTARIA,PHILIP MORRIS,and/or the other

                                             Defendants failed to warn consumers or the public, including Plaintiff, MICHAEL LUMPKINS

                                            ("LUMPKINS"), of this risk thereby recklessly disregarding the safety of the millions of JUUL

                                             Product users throughout the country.

                                                      36.      Older adults who switched to JUUL products in hopes of ending their nicotine

                                             addiction, ended up furthering it. As one of the JUUL founders said,"We don't think a lot about

                                             addiction here because we're not trying to design a cessation product at all... anything about health

                                             is no on our mind."20

                                                      37.      Studies have shown that older adults who switch to JUUL are more susceptible to

                                             cardiovascular and pulmonary problems, and CDC data shows that older patients hospitalized due

                                             to vaping lung related conditions had much longer hospital stays than younger patients.

                                                                                          Plaintiff
                                                      38.      On or about September 10, 2019, and at all times material, Plaintiff, LUMPKINS

                                             resided at 6362 Orchard Drive, Palos Heights, County of Cook, State of Illinois.




                                                Marescotti D, et al., Systems toxicology assessment of a representative e-liquid formulation using'human
                                             primary bronchial epithelial cells, Toxicology Reports (2019), doi: https://doi.org/10.1016/j.toxrep.2019.11.016;
                                             Temperance R. Rowell, et al., Electronic Cigarettes: Not All Good News? Flavored e-cigarette liquids reduce
                                             proliferation and viability in the CALU3 airway epithelial cell line, Am. J. Physiol. Lung Cell Mol. Physiol., 313152-
                                             L66 (Apr. 14, 2017).
                                                Tiku, Startup behind the Lambo of vaporizersjust launched an intelligent e-cigarette: Surprise,
                                             it's a rectangle, The Verge (April 21, 2015) www.theverge.com/ 2015/4/21/8458629/pax-labs-ecigarette-
                                             juul (as of July 5,2019).

                                                                                                        11
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 19 of 91 PageID #:33




                                                                                    The JUUL Defendants
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   39.     On or about September 10, 2019, and at all times material, Defendant, JUUL

                                            LABS, INC.("JUUL") was and is a Delaware corporation, with its principal place of business in

                                            San Francisco, California. Ploom, Inc., a predecessor company to JUUL, was incorporated in

                                            Delaware. Plcom, Inc., then changed its name to PAX Labs, Inc and then changed its name to

                                            JUUL LABS,INC. while forming a new subsidiary with the name PAX Labs, Inc.

                                                   40.     JUUL designs, manufactures, sells, markets, advertises, promotes and distributes

                                            e-cigarettes devices, JUUL pods and accessors (collectively "JUUL Products").

                                                   41.     Prior to the formation of separate entities PAX Labs, Inc. and JUUL in or around

                                            April 2017, JUUL designed, manufactured, sold, marketed, advertised, promoted, and distributed

                                            JUUL Produc:s under the name PAX Labs, Inc.

                                                   42.     Together with its predecessors JUUL LABS,INC. shall be referred to as "JUUL."

                                                   43.     On or about September 10, 2019, and at all times material, Defendant, ALTRIA

                                            GROUP,INC.,("AGI") was and is a Virginia corporation, with its principal place of business in

                                            Richmond, Virginia.

                                                   44.     On or about December 20, 2018, and at all times material, Defendant, AGI

                                            purchased a 35% stake in JUUL. AGI and JUUI executed a Service Agreement that provides that

                                            AGI though its subsidiaries, would assist JUUL in selling, marketing, promoting, and/or

                                            distributing JUUL Products, among other things.

                                                   45.    On or about September 10, 2019, and at all times material, Defendant, PHILIP

                                            MORRIS USA, was and is a wholly-owned subsidiary of AGI. PHILIP MORRIS was and is a

                                            Virginia corporation with its principal place of business in Richmond, Virginia.




                                                                                           12
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 20 of 91 PageID #:34




                                                   46.     PHILIP MORRIS performs direct marketing support services for JUUL under the

                                            Services Agreement to assist JUUL in selling, marketing, and/or promoting JUUL, including, but
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            not limited to, placing JUUL Product inserts in millions of packs of L&M, Parliament, and

                                            Marlboro cigarettes and utilizing PHILIP MORRIS's extensive consumer market database for

                                            targets direct marketing purposes.

                                                   47.     On or about September 10, 2019, and at all times material, Defendant, ALTRIA

                                            CLIENT SERVICES LLC("ACS"), was and is a limited liability company with its principal place

                                            of business in Richmond, Virginia.

                                                   48.     On or about September 10, 2019, and at all times material, Defendant, ALTRIA

                                            GROUP DISTRIBUTION COMPANY ("AGDC"), was and is a limited liability company with

                                            its principal place of business in Richmond, Virginia.

                                                   49.     On or about September 10, 2019, and at all times material, Defendant, ALTRIA

                                            ENTERPRISES LLC ("AE") was and is a wholly-owned subsidiary of AGI. AE was and is a

                                            limited liability company with its principal place of business in Richmond, Virginia.

                                                   50.     AGI, PHILIP MORRIS, ACS, AGDC, and AE are referred to jointly as the

                                            "ALTRIA DEFENDANTS" or "ALTRIA."

                                                   51.     AE is a party to the purchase agreement between AGI AND JUUL and AE

                                            purchased ALTRIA's stake in JUUL on behalf of ALTRIA.

                                                   52.    JUUL and the ALTRIA DEFENDANTS are referred to jointly as the "JUUL

                                            DEFENDANTS."




                                                                                           13
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 21 of 91 PageID #:35




                                                                      The E-Liquid Manufacturing Defendants

                                                          On or about September 10, 2019, and at all times material, Defendant, MOTHER
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   53.

                                            MURPHY'S LABS, INC.("MOTHER MURPHY'S") was a North Carolina corporation, with a

                                            principal place of business in Greensboro, North Carolina.

                                                   54.    On or about September 10, 2019, and at all times material, Defendant, MOTHER

                                            MURPHY'S. was in the business of manufacturing and supplying E-Liquids and the ingredients

                                            and additives in E-Liquids including the E-Liquid in JUUL Products.

                                                   55.    On or about September 10, 2019, and at all times material, Defendant,

                                            ALTERNATIVE INGREDIENTS,INC.("ALTERNATIVE") was a wholly-owned subsidiary of

                                            Defendant, MOTHER MURPHY'S.

                                                   56.    On or about September 10, 2019, and at all times material, Defendant,

                                            ALTERNATIVE, was a North Carolina corporation, with a principal place of business in

                                            Greensboro, North Carolina.

                                                   57.    On or about September 10, 2019, and at all times material, Defendant,

                                            ALTERNATIVE, was in the business of manufacturing and supplying E-Liquids, flavoring

                                            additives and raw ingredients in E-Liquids, including the E-Liquid in JUUL Products.

                                                   58.    On or about September 10, 2019, and at all times material, Defendant, TOBACCO

                                            TECHNOLOGY,INC.("TTI"), was a Maryland corporation with a principal place of business in

                                            Eldersburg, Maryland.

                                                   59.    On or about September 10, 2019, and at all times material, Defendant, TTI, was in

                                            the business cf manufacturing and supplying E-Liquids, flavoring additives and raw ingredients in

                                            E-Liquids, including the E-Liquid in JUUL Products.




                                                                                           14
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 22 of 91 PageID #:36




                                                      60.     On or about September 10, 2019, and at all times material, Defendant,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            ELIQUITECH,INC.("ELIQUITECH"), was a wholly-owned subsidiary of Defendant, TTI.

                                                      61.     On or about September 10, 2019, and at all times material, Defendant,

                                            ELIQUITECH, was a Maryland corporation, with a principal place of business in Eldersburg,

                                            Maryland.

                                                      62.     On or about September 10, 2019, and at all times material, Defendant,

                                            ELIQUITECk, was in the business of manufacturing and supplying E-Liquids,flavoring additives

                                            and raw ingredients in E-Liquids, including the E-Liquid in JUUL Products.

                                                      63.     Defendants, MOTHER MURPHY'S, ALTERNATIVE, TTI, and ELIQUITECH,

                                            are jointly referred to as the "E-LIQUID MANUFACTURING DEFENDANTS."



                                                                                 The Distributor Defendants

                                                      64.     On or about September 10, 2019, and at all times material, Defendant, MCLANE

                                            COMPANY, INC.("MCLANE") was a Texas corporation with a principal place of business in

                                            Temple, Texas.

                                                      65.     On or about September 10, 2019, and at all times material, Defendant, MCLANE,

                                            was a wholly-owned subsidiary of Berkshire Hathaway2I.

                                                      66.     On or about September 10, 2019, and at all times material, Defendant, EBY-

                                            BROWN COMPANY,LLC("EBY-BROWN"), was a Delaware limited liability company with a

                                            principal place of business in Naperville, Illinois.

                                                      67.     In 2019, Defendant, EBY-BROWN, was acquired by Performance Food Group.




                                            21   https://www.mclaneco.com/content/mclaneco/en/home.html.

                                                                                               15
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 23 of 91 PageID #:37




                                                   68.     On or about September 10, 2019, and at all times material, Defendant, CORE-

                                            MARK HOLDING COMPANY, INC.("CORE-MARK"), was a Delaware corporation with a
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            principal place of business in Westlake, Texas.

                                                   69.     On or about September 10, 2019, and at all times material, Defendant,

                                            WALGREENS CO.("WALGREENS"), was and is an Illinois corporation with its principal place

                                            of business in Deerfield, Illinois.

                                                   70.     Defendants, MCLANE, EBY-BROWN, CORE-MARK, and WALGREENS will

                                            be jointly referred to as the "DISTRIBUTOR DEFENDANTS."

                                                                                  The Medical Defendants

                                                   71.     On or about September 10, 2019, and at all times material, Defendant, PALOS

                                            COMMUNITY HOSPITAL d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN MEDICINE

                                            PALOS HOSPITAL("PALOS"), was and is an Illinois not-for-profit corporation with its principal

                                            place of business in Palos Heights, Illinois.

                                                   72.     On or about September 10, 2019, and at all times material, Defendant, LEIGH A.

                                            HALPERN, M.D.("HALPERN"), was an Illinois licensed physician specializing in emergency

                                            medicine.

                                                   73.      On or about September 10, 2019, and at all times material, Defendant, HALPERN,

                                            resided at 15 Estate Dr., Deerfield, Lake County, Illinois.

                                                   74.     On or about September 10, 2019, and at all times material, Defendant, CEP

                                            AMERICA-ILLINOIS, LLP ("CEP ILLINOIS"), was and is an Illinois limited liability

                                            partnership.




                                                                                              16
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 24 of 91 PageID #:38




                                                     75.    On or about September 10, 2019, and at all times material, Defendant, CEP

                                            AMERICA LLC d/b/a VITUITY ("VITUITY"), was and is a Delaware limited liability company
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            with a principal place of business in Arlington Heights, Illinois.

                                                     76.    On or about September 10, 2019, and at all times material, Defendant, HALPERN,

                                            was employed as a group physician by CEP ILLINOIS.

                                                     77.    On or about September 10,2019, and at all times material, Defendant, HALPERN,

                                            was employed as a group physician by VITUITY.

                                                     78.    On or about September 10, 2019, and at all times material, Defendant, DARREN

                                            VAN BEEK, M.D. ("VAN BEEK"), was an Illinois licensed physician specializing in

                                            interventional radiology and diagnostic radiology.

                                                     79.     On or about September 10, 2019, and at all times material, Defendant, VAN

                                            BEEK, resided at 312 E. CulLefton St., Unit C, Chicago, Cook County, Illinois.

                                                     80.    On or about September 10, 2019, and at all times material, Defendant,

                                            RADIOLOGY & NUCLEAR CONSULTANTS,LTD.("RADIOLOGY"), was and is an Illinois

                                            corporation with a principal place of business in Oak Brook, Illinois.

                                                     81.    On or about September 10, 2019, and at all times material, Defendant. VANBEEK,

                                            was employed as a group physician by RADIOLOGY.

                                                                                         Background

                                                     82.    JUUL set out to "deliver solutions that refresh the magic and luxury of the tobacco

                                            category."22




                                            22
                                              Mings, Ploom model Two Slays Smoking with Slick Design and Heated Tobacco Pods, Solid
                                            Smack (Apr 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-slick-design-tobacco-pods/
                                            (as of July 5, 2019).

                                                                                               17
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 25 of 91 PageID #:39




                                                     83.      Monsees, publicly admitted that JUUL built its e-cigarette business by first

                                            consulting cigarette industry documents, including board meeting minutes, made public under the
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            Master Settlement Agreement that had been reached between the cigarette industry, government

                                            officials, and injured smokers. "[Industry documents] became a very intriguing space for us to

                                             investigate because we had so much information that you wouldn't normally be able to get in most

                                            industries. And we were able to catch up, right, to a huge, huge industry in no time. And then we

                                            started building prototypes."23

                                                     84.     JUUL researched how cigarette companies had chemically manipulated nicotine

                                            content to maximize delivery.24 JUUL used other patents to determine the most effective way to

                                            manipulate nicotine pH to maximize the delivery of nicotine in a flavored vapor that has very little

                                            harshness or "throat hit." This combination created unprecedented risks of nicotine abuse and

                                            furthered the public health issue of nicotine addiction.

                                                     85.     JUUL looked to other patents to determine the "people who understood the

                                            science"25 and hired those scientists as advisors, helping develop JUUL Products.

                                                     86.      Upon information and belief, Defendant, JUUL, entered into an agreement in

                                            California with Defendant MOTHER MURPHY'S and Defendant ALTERNATIVE in or around

                                            2014 wherein in conjunction with JUUL, MOTHER MURPHY'S and ALTERNATIVE designed,

                                            manufactured and supplied flavoring additives and the flavored E-liquids pursuant to JUUL

                                            directives and specifications derived from their patents for use in its JUUL Products. Upon

                                            information and belief, MOTHER MURPHY'S and ALTERNATIVE continue to design,




                                            23
                                               Montoya, Pax Labs: Origins With James Monsees, Social Underground,
                                            https://socialunderground.com/2015/01/pax-ploom-origins-futurelames-monsees/(as of July 5, 2019).
                                            24 Id.

                                            25 Pierce, This Might Just Be The First Great E-Cig, WIRED,(Apr 21, 2015), www.wired.com/2015/04/pax-juul-ecig/

                                            (as of July 5, 2019).

                                                                                                   18
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 26 of 91 PageID #:40




                                             manufacture and supply flavoring additives and flavored e-liquids to JUUL for use in its JUUL

                                             pods presently.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                      87.     MOTHER MURPHY'S and ALTERNATIVE would use their own chemical

                                             additives and flavorings to formulate the e-liquids but "the overall manufacturing processes are

                                             unique to the JUUL system and the formulas and chemistries for the e-liquids for the JUUL system,

                                             are proprietary to JUUL" as alleged in JUUL's responses to Congress.26

                                                      88.     MOTHER MURPHY'S and ALTERNATIVE would report regularly to JUUL as

                                             to the production processes and progress and took direction from JUUL in California as to business

                                             directives, including phone calls, e-mails and regular forms of electronic communication coming

                                            from JUUL in California.

                                                      89.     Upon information and belief, MOTHER MURPHY'S and ALTERNATIVE

                                             performed "one-third of the final nicotine production" for JUUL products that go into the e-liquid

                                             mix.27

                                                      90.     Defendant MOTHER MURPHY'S describes itself as "an industry leader in flavor

                                             innovation." According to its website: "MOTHER MURPHY'S is a food flavoring business,

                                            family-owned and operated since 1946. We ship food flavorings, flavor extracts and powered

                                            flavorings to over 30 different countries. We are very innovative, and our in-house chemists are

                                             always developing and seeking new flavor extracts and powdered flavorings to add to our library

                                            of already more than 60,000 flavors. In fact, we say 'if you can imagine it, we can create it'."28

                                                      91.     Upon information and belief, MOTHER MURPHY'S is the parent company of

                                             ALTERNATIVE. ALTERNATIVE's website was taken down in the Fall of 2019 when news


                                            26 "Responses of JUUL LABS INC. to Questions for the Record at the July 25, 2019 Hearing before the House
                                            Committee on Oversight and Record Examining JUUL's role in the Youth Nicotine Epidemic: Part II p. 6.
                                            "Id.
                                            28 http://www.mothermurphys.com/



                                                                                                   19
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 27 of 91 PageID #:41




                                            broke that a lawsuit had been filed by a former JUUL employee alleging that ALTERNATIVE

                                            supplied over a million contaminated pods which JUUL sold to users, with reckless disregard for
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            consumer safety.

                                                      92.     A snapshot of ALTERNATIVE's website from 2016 accessed through

                                            wayback.org interne archive, describes ALTERNATIVE as "Established in Greensboro, North

                                            Carolina, ALTERNATIVE Ingredients, Inc. was created to serve the relatively new Vaping

                                            Industry, also known as the Electronic Nicotine Delivery Systems(ENDS)industry. Our product

                                            offering include E-Flavor Concentrates, Nicotine Solutions and finished E-Liquids.” It also states

                                            that:

                                                              We emphasize that while we have sought to create a group offlavors
                                                              compatible with the ENDS industry, to our knowledge, no
                                                              independent studies have been conducted which document the
                                                              safety of these flavors in a vaping environment or in e-cigarettes.
                                                              We expect that these studies will be forthcoming, but until they are
                                                              released, we make no representation or warranty as to the'safety of
                                                              these flavors when used in a vaping environment or in e-cigarettes.29
                                                             (emphasis added).

                                            However, no such warning was provided when the e-liquids were shipped and/or sold to millions

                                            of consumers throughout the United States. MOTHER MURPHY'S and ALTERNATIVE did not

                                            see to it that JUUL provide the same reservation as to lack of safety tasting and lack of warranty

                                            as to the safety ofthe chemical flavoring additives to the consumers that they themselves cautioned

                                            about to their potential vaping industry customers.

                                                      93.     In conjunction with JUUL, MOTHER MURPHY'S and ALTERNATIVE

                                            designed, manufactured, and supplied flavoring ingredients for JUUL e-liquids utilizing flavoring

                                            additives, which were never tested for safety risks associated with inhalation in e-cigarettes.

                                            Accordingly, JUUL, MOTHER MURPHY'S and ALTERNATIVE's design, manufacture, and


                                            29   https://web.archive.org/web/20160312122149/http://www.alternativeingredients.com/

                                                                                                 20
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 28 of 91 PageID #:42




                                            supply of JUUL e-liquids was done with reckless disregard for the safety of consumers including,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            Plaintiff, LUMPKINS,and millions of teenagers, young adults and older adults who unknowingly

                                            inhaled e-liquids containing flavoring additives that were never tested to determine whether they

                                            were safe for use in this manner and for which Defendants knew, or should have known, carried a

                                            severe and significant inhalation risk to the lung and other organs. MOTHER MURPHY'S and

                                            ALTERNATIVE placed JUUL e-liquids into the stream ofcommerce with the full knowledge that

                                            it was unsafe for use in the manner for which it was intended. MOTHER MURPHY'S and

                                            ALTERNATIVE knew, or should have known, that the e-liquid it designed, and was

                                            manufacturing and supplying was an inherently dangerous and toxic product which could cause

                                            the personal injuries as described herein.

                                                   94.     Occupational safety protections pursuant to OSHA and state laws were needed to

                                            ensure that ALTERNATIVE and MOTHER MURPHY'S employees were protected from the

                                            fumes from these flavoring additives, nicotine and other chemicals; the very chemicals designed

                                            to be vaporized and then inhaled by consumers.

                                                   95.     Despite the knowledge of the inhalation risks, MOTHER MURPHY'S and

                                            ALTERNATIVE, manufactured e-liquids and placed the products into the stream of commerce

                                            for millions of people, including Plaintiff, LUMPKINS, to inhale without warning of any risks

                                            caused by inhalation of the ingredients contained therein.

                                                   96.     Due to the continued blockbuster success and increased demand for JUUL

                                            Products, as well as anticipated global expansion, JUUL entered into an agreement with the

                                            Maryland based corporations Defendant TTI and Defendant ELIQUITECH in or around 2017

                                            wherein TTI and ELIQUITECH also manufactured and supplied flavoring additives and blended

                                            the flavored e-liquids in JUUL Products. Upon information and belief, TTI and ELIQUITECH



                                                                                           21
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 29 of 91 PageID #:43




                                            continue to design, manufacture and supply flavoring additives and flavored e-liquids in

                                            conjunction with JUUL for use in its JUUL Products presently.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   97.    In addition to MOTHER MURPHY'S and ALTERNATIVE, Defendants TTI and

                                            ELIQUITECH, based upon contractual relations with JUUL in California, also used specifications

                                            created by JUUL in San Francisco, and designed, manufactured and supplied flavoring ingredients

                                            and blended the JUUL e-liquids utilizing flavoring additives, which were never tested for safety

                                            risks associated with inhalation in e-cigarettes. TTI and ELIQUITECH placed JUUL e-liquids into

                                            the stream of commerce with the full knowledge that it was unsafe for use in the manner for which

                                            it was intended. TTI and ELIQUITECH knew, or should have known, that the e-liquid it was

                                            designing, manufacturing, and supplying in conjunction with JUUL was an inherently dangerous

                                            and a toxic product which could cause the personal injuries as described herein.

                                                   98.     Neither TTI or ELIQUITECH had ever tested the products for safety risks

                                            associated with utilizing the material in e-liquids. In fact, TT'and ELIQUITECH were fully aware

                                            that the Safety Data Sheets prepared for each flavoring additive specifically stated that the

                                            ingredient carried inhalation health risks. Despite the knowledge of the inhalation risks, TTI and

                                            ELIQUITECH manufactured e-liquids utilizing these ingredients and placed the product into the

                                            stream of commerce for millions of people, including Plaintiff, LUMPKINS, to inhale without

                                            warning of any risks caused by inhaling of the ingredients contained therein.

                                                   99.     The flavoring additives and raw ingredients manufactured and supplied by the

                                            ELIQUID MANUFACTURER DEFENDANTS and used in the JUUL e-liquid formulations as

                                            designed in conjunction with JUUL are associated with severe and significant risks of acute and

                                            chronic lung injuries, cardiovascular injuries and seizures. The E-LIQUID MANUFACTURER

                                            DEFENDANTS knew, or should have known of the risks and failed to warn Plaintiff,



                                                                                           22
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 30 of 91 PageID #:44




                                            LUMPKINS, and failed to ensure that its' contractual partner/customer JUUL warned its
FILED DATE: 9/10/2021 8:29-PM 2021L009092




                                            consumers of the risks, in reckless disregard for human safety.

                                                         100.   The aforementioned E-LIQUID MANUFACTURER DEFENDANTS were all

                                            manufacturers and suppliers of flavoring ingredients for JUUL E-liquids utilizing flavoring

                                            additives. The ELIQUID MANUFACTURER DEFENDANTS were negligent in that they failed

                                            to warn and failed to ensure its contractual partner JUUL warned the consumers and users of the

                                            risks associated with inhaling their products contained in the JUUL e-liquid and thereby acted in

                                            reckless disregard for the safety of the public, consumer and users of JUUL including millions of

                                            teenagers, young and older adults. The E-LIQUID MANUFACTURERS were otherwise negligent

                                            and liable for the injuries sustained by Plaintiff, LUMPKINS.

                                                         101.   Having created a product designed to hook users to its nicotine, JUUL had to

                                            mislead consumers into believing JUUL Products were something other than what it actually was.

                                            So, the company engaged in a years' long campaign to downplay JUUL's nicotine content,

                                            nicotine delivery, and the unprecedented risks of abuse and addiction JUUL Products pose.

                                            Defendants devised and knowingly carried out a material scheme to defraud consumers by (a)

                                            misrepresenting the nicotine content, nicotine delivery profile, and risks of JUUL Products,(b)

                                            representing to the public that JUUL's e-cigarette was a smoking cessation tool, and (c) using

                                            third-party groups to spread false and misleading narratives about e-cigarettes, and JUUL's e-

                                            cigarette in particular.

                                                         102.   Defendant, JUUL also utilized cigarette industry advertisements as a blueprint for

                                            JUUL's advertising campaigns. Which Monsees indicated was "quite useful to them."30



                                            3° Jackler et al., JUUL Advertising Over its First Three Years on the Market, Stanford Research
                                            into the Impact of Tobacco Advertising, Stanford University School of Medicine (Jan 31, 2019),
                                            http://tobacco.stanford.edu/tobacco_main/ publications/JUUL_Marketing_Stanford.pdf (as of
                                            July 5, 2019).

                                                                                                    23
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 31 of 91 PageID #:45




                                                      103.   As a result of its marketing campaigns, Defendant, JUUL has become the dominant

                                            e-cigarette manufacturer in the United States. Its revenues grew by 700% in 2017. According to a
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            recent Wells-Fargo report, Defendant,JUUL,owns three-quarters(3/4)ofthe e-cigarette market.31

                                                      104.   All leading health authorities support three major conclusions of a 1988 report by

                                            the Surgeon General of the United State regarding nicotine and tobacco:(1) cigarettes and other

                                            forms of tobacco are addictive;(2) nicotine is the drug in tobacco that causes addiction;(3) the

                                            physiological and behavioral processes that determine tobacco addiction are similar to those that

                                            determine heroin and cocaine addiction.

                                                      105.   Nicotine fosters addiction through the brain's "reward" pathway. A stimulant and

                                            a relaxant, nicotine affects the central nervous system; increases in blood pressure, pulse, and

                                            metabolic rate; constricts blood vessels of the heart and skin, and causes muscle relaxation. When

                                            nicotine is inhaled it enters the bloodstream through membranes in the mouth and upper respiratory

                                            tract and through the lungs. Once nicotine in the bloodstream reaches the brain, it binds to

                                            receptors, triggering a series of physiologic effects in the user that are perceived as a "buzz" that

                                            includes pleasure, happiness, arousal, and relaxation ofstress and anxiety. These effects are caused

                                            by the release of dopamine, acetylcholine, epinephrine, norepinephrine, vasopressin, serotonin,

                                            and beta endorphin. With regular nicotine use, however, these feelings diminish and the user must

                                            consume increasing amounts of nicotine to achieve the same pleasurable effects.32

                                                      106.   The neurological changes caused by nicotine create addiction. Repeated exposure

                                            to nicotine causes neurons in the brain to adapt to the action of the drug and return brain function


                                            31
                                               Durbin et al., Letterfrom United States Senators to Kevin Burns CEO JUUL Labs Inc.(Apr 8,
                                            2019), www.durbin.senate.gov/imo/media/doc/ FINAL%20JUUL%20Letter%204.8.19.pdf(as of
                                            July 5, 2019).
                                            32
                                               Neal L. Benowitz, Pharmacology of Nicotine: Addiction, Smoking-Induced Disease, and Therapeutics(Sep 27,
                                            2009) Annu Rev Pharmacol Toxicol 49: 57-71 www.ncbi.nlm.nih.gov/pmc/articles/PMC2946180/(as of July 5th,
                                            2019).

                                                                                                 24
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 32 of 91 PageID #:46




                                             to normal. This process, called neuroadaptation, leads to the development of tolerance in which a

                                             given level of nicotine begins to have less of an effect on the user.33
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                      107.    Once a brain is addicted to nicotine, the absence of nicotine causes compulsive

                                             drug-seeking behavior, which, if not satisfied, results in withdrawal symptoms including anxiety,

                                             tension, depression, irritability, difficulty in concentrating, disorientation, increased eating,

                                             restlessness, headaches, sweating, insomnia, heart palpitations and tremors, and intense cravings

                                            for nicotine. Though smokers commonly report pleasure and reduced anger, tension, depression

                                             and stress after smoking a cigarette, many of these effects are actually due to the relief of

                                             unpleasant withdrawal symptoms that occur when a person stops smoking and deprives the brain

                                             and body of n cotine. Studies have found that most smokers do not like smoking most of the time

                                             but do so to avoid withdrawal symptoms.34

                                                      108.    Nicotine is associated with cardiovascular, reproductive, and immunosuppressive

                                             problems, and is also a carcinogen.35 Nicotine adversely affects the heart, eyes, reproductive

                                             system, lungs, and kidneys. It is well-established that nicotine increases blood pressure. Exposure

                                             to nicotine from sources such as nicotine gum still produces an increased risk ofcoronary vascular

                                             disease ("CVD") by producing acute myocardial ischemia, as well as an increased risk of

                                             peripheral arterial disorders. Aside from its use as a stimulant, the only other known use of nicotine

                                             is as an insecticide.36




                                            "Id.
                                            34 Rigotti, Strategies to help a smoker who is struggling to quit(Oct 17, 2012)JAIV.1A 308(15): 1573-1580,
                                            www.ncbi.nlm.nih.gov/pmaarticles/PMC4562427/(as of July 5, 2019); Paolini & De Biasi, Mechanistic insights into
                                            nicotine withdrawal (Oct. 15, 2011) Biochem Pharmacol 82(8): 996-1007,
                                            www.ncbi.nlm.rih.gov/pmc/articles/PMC3312005/(as of July 5, 2019).
                                               Mishra et al., Harmful Effects of Nicotine (2015) Indian J. Med. Paediatr. Oncol., 36(1): 24-31 (Jan- Mar 2015),
                                            www.ncbi.nlm.r ih.gov/pmc/articles/PMC4363846/(as of July 5, 2019).
                                            36 Id.



                                                                                                    25
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 33 of 91 PageID #:47




                                                     109.     According to the National Institute of Health, the "amount and speed of nicotine

                                            delivery...plays a critical role in the potential for abuse of tobacco products."37 The cigarette
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            industry has long known that "nicotine is the addicting agent in cigarettes"38 and that "nicotine

                                            satisfaction is the dominant desire" of nicotine addicts.39

                                                     1 10.    As a result, cigarette companies manipulated nicotine in order to foster and

                                            maintain addiction in their customers. For example, R.J. Reynolds Tobacco Company ("RJR")

                                            developed and patented nicotine salt additives such as nicotine benzoate to increase nicotine

                                            delivery in cigarette smoke. As detailed in an RJR memorandum titled "Cigarette concept to assure

                                            RJR a larger segment of the youth market," manipulating the pH of nicotine was expected to give

                                            cigarettes an additional nicotine `kick'."40 This kick was attributed to increased nicotine absorption

                                            associated with lower pH.41

                                                     1 11.    JUUL knowingly used the RJR research and conclusions to produce a similar

                                            nicotine kick, and thereby promoting increased use and sales of JUUL Products. In U.S. patent

                                            No. 9,215,895 (the "895 Patent"), assigned to Pax Labs, Inc. and listing Defendant, Bowen, as an

                                            inventor, JUUL describes a process for combining benzoic acids with nicotine to produce nicotine

                                            salts, a formulation that mimics the nicotine salt additive developed by RJR decades earlier.




                                            37 How Tobacco Smoke Causes Disease: The Biology and Behavioral Basis for Smoking-Attributable Disease: A
                                            Report of the Surgeon General, Chapter 4, Nicotine Addiction: Past and Present(2010),
                                            w ww.ncbi.nlm.nih.gov/books/NBK53017/(as of July 5th, 2019).
                                            38
                                               Brown & Williamson official A.J. Mellman,(1983) Tobacco Industry Quotes on Nicotine Addiction;
                                            w ww.ok.gov/okswat/documents/Tobacco%20Industry%20Quotes%20on%20Nicotine%20Addiction.pdf(as of July
                                            5,2019).
                                            39 Id., R.J. Reynolds Tobacco Co. marketing memo, 1972.
                                            40
                                               Id., 1973 R.J. Reynolds Tobacco Co. memo titled, "Cigarette concept to assure RJR a larger segment of the youth
                                            market."
                                               Benowitz etal., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, Nicotine Psychopharmacology (Oct.
                                            13, 2010), Handb Exp Pharmacol 192:29-60, www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/(as of July 5,
                                            2019).

                                                                                                    26
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 34 of 91 PageID #:48




                                                     112.     In 2015 during an interview, An Atkins, a JUUL research & development engineer

                                            and one of the inventors of the JUUL e-cigarette device said that that,"In the tobacco plant, there
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            are these organic acids that naturally occur. And they help stabilize the nicotine in such a way that

                                             makes it..." He pauses."I've got to choose the words carefully here: Appropriate for inhalation."42

                                                     1 13.    JUUL Products were designed to deliver very little "throat hit" while delivering

                                             high concentrations of nicotine, higher than cigarettes or other electronic nicotine delivery systems

                                            containing freebase nicotine.

                                                     1 14.    Blood plasma studies in the 895 Patent43 show that vaping nicotine benzoate

                                             increase nicotine delivery compared to cigarettes or vaporized solutions of freebase nicotine. In

                                            fact, nicotine uptake was up to four times higher for nicotine salt formulations than traditional

                                            cigarettes. JUUL's data indicates that nicotine salt solutions produce a higher heart rate in a shorter

                                            amount of time (a 50 beats/minute increase within 2 minutes for nicotine salt, versus a 40

                                            beats/minute increase in 2.5 minutes for a Pall Mall cigarette). Nicotine slats also cause a faster

                                            and more significant rise in heart rate than placebo or vaporized freebase nicotine.

                                                     1 15.   The 895 Patent shows that a 4% solution of benzoic acid nicotine salt causes a peak

                                            nicotine-blood concentration ("Cmax") of approximately 15 ng/mL compared to a Cmax of 11

                                            ng/mL for a Pall Mall cigarette."

                                                     1 16.   One study found that the reported nicotine dose in JUULpods is likely lower than

                                            the actual dose. The strongest benzoic acid concentration mentioned in the 895 Patent is 4%(40

                                            mg/mL of benzoic acid), one study tested four flavors of JUULpods and found a 4.5% benzoic




                                            42 Pierce, This Might Just Be The First Great E-Cig (Apr 21, 2015) WIRED, www.wired.com/2015/04/pax-juul-ecig/

                                            (as of July 5, 2019).
                                            43 See U.S. Patent No. 9, 215,895.

                                            44'895 Patent, at col. 26, II. 33-50.



                                                                                                   27
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 35 of 91 PageID #:49




                                             acid solution.45 That study found that JUULpods contained a concentration of 6.2% nicotine salt

                                            (about 60 mg/MI), rather than the 5% nicotine(about 50 mg/mL)advertised. JUULpods containing
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                             an absolute nicotine concentration 1.2% higher than the stated 5% on the label (a relative increase

                                             ofover 20%)coupled with more benzoic acid than listed in the 895 Patent produce higher nicotine

                                             absorption than expected for the advertised formulation.

                                                      1 17.   Other studies have reported even high actual concentrations of nicotine in

                                             JUULpods. Some experts estimate that JUULpods deliver the same nicotine as Iwo packs of

                                             cigaretteS.46

                                                      1 18.   In any event, JUUL Products are delivering doses of nicotine that are materially

                                             higher than that which is delivered by combustible cigarettes. A paper published by the European

                                             Union citing to the United Kingdom Medicines and Healthcare Products Regulatory Agency notes,

                                            "an e-cigarette with a concentration of 20 mg/mL delivers approximately 1 milligram of nicotine

                                             in 5 minutes (the time needed to smoke a traditional cigarette, for which the maximum allowable

                                             delivery is 1 mg of nicotine)."47 With at least 59 mg/mL of nicotine delivered in a salt form that

                                             increases the rate and efficiency of uptake (and even with a lower mg/mL amount), a JUULpod

                                             will easily exceed the nicotine dose of a traditional cigarette. Thus,the European Union has banned

                                             all e-cigarette products with a nicotine concentration of more than 20 mg/mL nicotine, and Israel

                                             is likely to do the same." As Israel's Deputy Health Minister has noted,"a product that contains

                                             a concentration of nicotine that is almost three times the level permitted in the European Union



                                            45 Pankow et al., Benzene formation in electronic cigarettes(Mar 8, 2017) PLoS One. 2017; 12(3): e0173055
                                            www.ncbi.hlm.nih.gov/pmciarticles/PMC5342216/(as of July 5, 2019).
                                            46 6 importantfacts about JUUL, Truth Initiative, https://truthinitiative.org/researchresources/

                                            emerging-tobacco-products/6-important-facts-about-juul (as of July 5, 2019)
                                            47 "E-Cigarettes" https://ec.europa.euThealthfisites/health/files/tobacco/docs/fs ecigarettes en.pdf(as of July 5,

                                            2019)(citing United Kingdom Medicines and Healthcare Products Regulatory Agency and industry reports).
                                            "Belluz, Juul, the Vape Device Teens are Getting Hooked On, Explained (Dec 20, 2018) Vox
                                            https://www.vox.com/science-and-health/2018/5/1/17286638/juul-vaping-e-cigarette (as of July 5; 2019).

                                                                                                    28
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 36 of 91 PageID #:50




                                            constitutes a danger to public health and justifies immediate and authoritative steps to prevent it

                                            from entering the Israeli market."49
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                     1 19.    Comparison of available data regarding per puff nicotine intake corroborates the

                                            other JUUL studies (mentioned above), indicating that JUUL delivers about 30% more nicotine

                                            per puff. Specifically, a recent study of JUULpods found that "Wile nicotine levels delivered by

                                            JUUL Products are similar or even higher than those delivered by cigarettes."5° The Reilly study

                                            tested JUUL's tobacco, crème brulee, fruit punch, and mint flavors and found that a puff of JUUL

                                            delivered 164 ± 41 micrograms of nicotine per puff. By comparison, a 2014 study using larger 100

                                            mL puffs found that a Marlboro cigarette delivered 152 to 193 pg/puff.51 Correcting to account for

                                            the different puff sizes between the Reilly and Schroeder studies, this suggest that, at 75 mL/puff,

                                            a Marlboro would deliver between 114 and 144 jig/puff, thus a JUUL puff delivers up to 36%

                                            more nicotine per puff than a Marlboro.

                                                     120.    "Nicotine yield is strongly correlated with tobacco consumption,"52 A JUULpod

                                            with more nicotine will strongly correlate with higher rates of consumption of JUULpods,

                                            generating more revenue for JUUL. For example, a historic cigarette industry study looking at

                                            smoker employees found that "the number of cigarettes the employees smoked per day was

                                            directly correlated to the nicotine levels."53 In other words, the more nicotine in the cigarettes, the

                                            more cigarettes a person smoked.


                                            49 Linder-Ganz, JUUL Warns It Will Fight Israel Over Its Potential Ban on E-Cigarettes (Jan 30, 2018), HAARETZ,
                                            www.haaretz.com/israel-news/business/juul-warns-it-will-fight-israel-overpotential-ban-on-its-e-cigarettes-
                                            1.6140058(as of July 5, 2019).
                                               Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL Electronic Cigarettes (Oct 20, 2018)
                                            Nicotine Tob Res. 3(the "Reilly study") https://www.ncbi.nlm.nih.gov/pubmed/30346584(as of July 5, 2019).
                                            51 Schroeder & Hoffman, Electronic Cigarettes and Nicotine Clinical Pharmacology(May 2014)Tobacco Control
                                            2014: 23:ii30-1i35, www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/(as of July 5, 2019).
                                            52 Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes in Smokers: Evidence From a

                                            Representative Population Survey (Jan 2001), JNCI Vol. 93, Issue 2, 134-138
                                            https://academic.oup.com/jnci/article/93/2/134/2906355 (as of July 6, 2019).
                                               UCSF Library, 1003285443-5443(US 85421).

                                                                                                     29
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 37 of 91 PageID #:51




                                                     121.    Despite the overwhelming date mentioned above, the JUUL DEFENDANTS,the

                                            E-LIQUID MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            have failed to disclose to consumers that JUUL Products' nicotine salt formulation delivers an

                                            exceptionally potent dose of nicotine.

                                                     122.    By delivering such potent doses of nicotine, JUUL Products magnify the health

                                            risks posed by nicotine, significantly increase the risk of cerebellar infection and brain injury.

                                                     123.    Further, because JUUL's nicotine salts actually increase the rate and magnitude of

                                            blood plasma nicotine compared to traditional cigarettes, the risk of nicotine addiction and abuse

                                            is higher for JUUL e-cigarettes than traditional cigarettes — a fact not disclosed by the JUUL

                                            DEFENDANTS, the               E-LIQUID         MANUFACTURING                DEFENDANTS, and/or                the

                                            DISTRIBUTOR DEFENDANTS.

                                                     124.    At the same time, as discussed above, the "throat hit" from nicotine salts is much

                                            lower than that for combustible tobacco products, making it easier to inhale. According to

                                            researchers, the "high total nicotine level (addictive delivery)" of a JUUL coupled with its easily

                                            inhalable nicotine vapor is "likely to be particularly problematic for public health."54

                                                     125.    The powerful combination of a highly addictive and easy to inhale e-cigarette,

                                            repeatedly exposes users to the toxic chemicals in the vapor,compounding the health risks to users,

                                            as described above.

                                                     126.    In addition to the nicotine content, the "Cool" Mint pods pose additional risks. The

                                            FDA's Tobacco Products Scientific Advisory Committee in March 2011 issued a report on

                                            menthol cigarettes, concluding that the minty additive was not just a flavoring agent but had drug-




                                              See Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by 1H NMR Spectroscopy (Jun
                                            18, 2018)31 Chem. Res. Toxicol. 431-434, www.ncbi.nlm.nih.goy/pmc/articles/PMC6008736/(as of July 5th,
                                            2019).

                                                                                                   30
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 38 of 91 PageID #:52




                                            like effects, including "cooling and anesthetic effects that reduce the harshness of cigarette
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            smoke."55 Mint could also "facilitate and deeper and more prolonged inhalation," resulting in

                                            greater smoke intake per cigarette."56

                                                     127.     The      JUUL        DEFENDANTS,             the      E-LIQUID         MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS fraudulently concealed material

                                            information about the addictive and dangerous nature of JUUL Products. the JUUL

                                            DEFENDANTS, the                E-LIQUID        MANUFACTURING                 DEFENDANTS,             and/or     the

                                            DISTRIBUTOR DEFENDANTS were necessarily in possession of all of this information.

                                                     128.     The      JUUL - DEFENDANTS,                  the      E-LIQUID         MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS engaged consultants, academics,

                                            reporters and other friendly sources such as the American Enterprise Institute to serve as

                                            spokespersons and cheerleaders for e-cigarette products. Taking yet another page from the

                                            cigarette-industry playbook, these influences masked their connection to the e-cigarette industry,

                                            while serving as its mouthpiece to cast doubt about risks and overstate benefits.

                                                     129.    For example, when JUUL first launched its e-cigarette, cigarette company expert

                                            witness Sally Satel published an article in Forbes Magazine touting the benefits of nicotine —

                                            claiming it aids in concentration — and stating that it is harmless.57 In another article, she lauded

                                            efforts by JUUL and others to develop nicotine-related products, and cast any doubters as

                                            hysterical and creating a "panic."58



                                               Proctor, Golden Holocaust: Origins of the Cigarette Catastrophe and the Case for Abolition, 500(1st ed. 2011).
                                            56 Id. at.500-501.
                                               Satel, Nicotine Itself Isn't The Real Villain (Jun 19, 2015), Forbes,
                                            www.forbes.com/sites/sallysatel/2015/06/19/nicotine-can-saye-liyes/#60379f766f43(as of July 5,
                                            2019).
                                            58
                                               Satel, Why The Panic Over JUUL And Teen Vaping May Have Deadly Results(Apr 11, 2018), Forbes,
                                            w ww.forbes.com/sites/sallysatel/2018/04/11/why-the-panic-oyer-juul-and-teen-vapingmay-have-deadly-
                                            results/#6blec693ea48 (as of July 5, 2019).

                                                                                                    31
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 39 of 91 PageID #:53




                                                   130.    Numerous other articles, videos, and podcasts — also spread through social media-

                                            echoed this same message that the public health community was overreacting to the e-cigarettes
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            and in a panic about nothing.

                                                   131.    During each of its multiple fundraising rounds, JUUL assured potential investors

                                            that addiction to something that is not harmful is not harmful, suggesting that JUUL was no more

                                            harmful than coffee.

                                                   1 32.   On information and belief, the JUUL DEFENDANTS, the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS spread this

                                            message trough hired third-party spokespersons and influencers.

                                                   1 33.   Furthering their campaign ofdoubt and confusion, when asked directly about health

                                            risks, JUUL' employees and founders would point reporters to other sources to indicate that the

                                            JUUL Products had been shown to be safe, or not harmful, rather than admit what it knew

                                            regarding the dangers.

                                                   134.    The       JUUL   DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS,and/or the DISTRIBUTOR DEFENDANTS well-understood from the cigarette

                                            industry playbook that sowing doubt and confusion over the benefits and risks of e-cigarettes is

                                            key to long-term success. First, by creating a "two-sides-to-every-story" narrative, JUUL gave

                                            addicted users permission to keep using the product and avoid the pain of withdrawal. Second, by

                                            engaging people who looked like independent experts, the JUUL DEFENDANTS,the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS staved off

                                            regulation and suppressed political opposition, allowing it a long runway to capture market share.

                                            Third, by belittling the public health community, the JUUL DEFENDANTS, the E-LIQUID




                                                                                           32
                         Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 40 of 91 PageID #:54




                        MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS neutered its

                        most vocal threat.
29 PM 2021L009092




                                1 35.   Upon information and belief, the JUUL DEFENDANTS, the E-LIQUID

                        MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS conspired

                        amongst themselves and/or with others in the cigarette industry to fraudulently conceal the risks
FILED DATE: 9/10/2021




                        ofe-cigarettes, recognizing that a campaign ofdoubt, misinformation and confusion would benefit

                        all of them and would be the key to the industry's survival.

                                136.    From JUUL's pre-release announcements to this day, the JUUL DEFENDANTS,

                        the   E-LIQUID       MANUFACTURING            DEFENDANTS,          and/or    the   DISTRIBUTOR

                        DEFENDANTS have continuously falsely represented that each pod contains only as much

                        nicotine as a pack of cigarettes. The JUUL DEFENDANTS,the E-LIQUID MANUFACTURING

                        DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS repeat these claims widely in

                        advertisements, press releases, on JUUL Product packaging, and on JUUL's website. For example,

                        some JUUL advertisements and JUUL's website provided that each JUUL Product is designed to

                        contain approximately 0.7mL with 5% nicotine by weight which is approximately equivalent to 1

                        pack of cigarettes or 200 puffs."

                                137.    This statement is false and seriously misleading because, as JUUL knows, it is not

                        just the amount of nicotine, but the efficiency with which the product delivers nicotine into the

                        bloodstream,that determines the product's narcotic effect, risk of addiction, and other health risks.

                                1 38.   JUUL and the MANAGEMENT directed and approved the content of the JUUL

                        website, and they also directed and approved the distribution channels for JUUL Product and their

                        deceptive, misleading and fraudulent statements regarding JUUL's Products nicotine content. And




                                                                         33
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 41 of 91 PageID #:55




                                             although they knew that these statements, were untrue, JUUL and Management have made no

                                            effort to retract such statements or correct their lies.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                     139.    ALTRIA greatly expanded the reach of this fraud by providing its retail and

                                             distribution might for JUUL products, causing millions of JUUL Products sold and distributed

                                             with packaging stating that JUUL Products contain only 5% nicotine by weight and are

                                            "approximately equivalent to about 1 pack of cigarettes."59 JUUL, Management, and ALTRIA

                                             knew that these statements are false and misleading, but nevertheless utilized JUUL Product

                                             packing, marketing and advertising to maintain their fraud.

                                                     140.    ALTRIA knew in 2017 that a JUUL Product delivered more nicotine than one pack

                                             of cigarettes. In 2017, ALTRIA launched its MarkTen Bold ENDS,a relatively high-strength 4%

                                            formulation compared to the 2.5% and 3.5% strength MarkTen products initially offered. Even

                                             though JLI was already on store shelves and was rapidly gaining market share with its 5% nicotine

                                            formulation, ALTRIA chose to bring a less potent 4% formulation to market.

                                                     141.    According to ALTRIAS' own pharmacokinetic testing as reflected in the below

                                             chart, this 4% less potent formulation was nevertheless sufficient to raise plasma nicotine to levels

                                             approaching those generated by combustible cigarettes. In other words, ALTRIAS' own

                                             pharmacokinetic testing suggested the highly addictive nature of a 5% formulation, as such a

                                            formulation would readily equal or exceed the nicotine delivery profile of a combustible cigarette.

                                                     142.    Based on its own internal knowledge, ALTRIA knew that a 5% nicotine

                                            formulation would carry more nicotine than one pack of cigarettes. In addition to data it received

                                            from JLI, the ALTRIA DEFENDANTS' due diligence undoubtedly included a careful




                                            "Juul Labs, Feb. 14, 2018, 10:35 a.m. Tweet, https://twitter.com/JUULvapor/status/963844069519773698.

                                                                                                 34
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 42 of 91 PageID #:56




                                            examination of JLI's intellectual property, including the 895 patent, which provides a detailed
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            overview of nicotine benzoate's pharmacokinetic profile.

                                                     143.    Thus,JUUL,Management,and ALTRIA knew that the statement on JUUL Product

                                            packaging that each JUUL Product contains 5% nicotine and about as much nicotine as a pack of

                                            cigarettes is literally false and they intended such statements to mislead. Neither ALTRIA, nor

                                            JUUL or Management has made any effort to correct or retract the false and misleading statements

                                            as to the true nicotine content in JUUL Product. Instead, they have continued to misrepresent the

                                            product's nicotine content and design, with the goal of misleading and deceiving consumers.

                                                     144.    Not only have JUUL, Management and ALTRIA misrepresented or concealed the

                                            actual amount of nicotine consumed via JUUL Product, but they also did not effectively or fully

                                            inform users about the risks associated with the potent dose of nicotine delivered by its products.

                                            Despite making numerous revisions to JUUL Product packaging since 2015,the packaging did not

                                            include nicotine addiction warnings until JUUL was forced to add them in August 2018.

                                                     145.    The     JUUL        DEFENDANTS,            the     E-LIQUID         MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS knew or should have known that

                                            benzoic acid affects pH and "absorption of nicotine across biological membranes."6c

                                                    146.     Assuming a concentration of 59 mg/mL, JUUL's reported nicotine content

                                            corresponds to about 40 mg of nicotine per 0.7 mL JUULpod. If, as JUUL claims,this is equivalent

                                            to one pack of cigarettes (or 20 cigarettes), that implies 2 mg of nicotine per cigarette.

                                                    147.     JUUL's equivalency claim further assumes 10 puffs per cigarette (or 200 puffs per

                                            pack), which is 0.2 mg(200 jig) of nicotine per puff.



                                            60
                                              Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, Nicotine Psychopharmacology(Oct
                                            12, 2010), Handb Exp Pharmacol 192: 29-60 www.ncbi.nlm.nih.goy/pmciarticles/PMC2953858/(as of July 5,
                                            2019).

                                                                                                 35
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 43 of 91 PageID #:57




                                                     148.      Typically, a cigarette that delivers around one milligram of nicotine in smoke

                                             retains "about 14-20 milligrams of nicotine in the unsmoked rod," USA v. Philip Morris, Inc.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            (D.D.C. 2006) 449 F.Supp.2d 1, 567, for an overall delivery of 5-7% of the cigarette's actual

                                             nicotine content. A study by the Center for Disease Control found that in "commercial cigarette

                                             brands, nicotine concentrations ranged from 16.2 to 26.3 mg nicotine/g tobacco (meaning 19.2

                                             mg/g; meidan 19.4 mg/g)."61 assuming an average of 19 milligrams of nicotine per cigarette, an

                                             average pack of cigarettes contains 380 milligrams of nicotine, or six times as much nicotine as

                                             the 62 milligrams reported for each JUULpods. Yet the average pack would be expected to deliver

                                             only 5-7%(19-27 mg)of its nicotine content to the user. In line with this expectation, a study of

                                             thousands ofsmokers found smokers intaking between 1.07 to 1.39 milligrams per cigarette (21.4-

                                             27.8 mg per pack).62 This is less than half ofthe amount of nicotine contained in a JUULpod (i.e.

                                             2 mg per cigarette based on JUUL's stated concentration, or 200 lig per puff assuming 100%

                                             delivery). Even with the slightly lower efficiency of delivery demonstrated in studied like Reilly

                                            (about 82%, for average of 164 tg per puff), this amounts to a substantially higher amount of

                                             nicotine than a human will absorb from a JUULpod than from smoking a pack of cigarettes.

                                                     149.     JUUL's statement in its advertisements that each JUUL Product contains about as

                                             much nicotine as a pack of cigarettes is therefore literally false and likely to mislead, because the

                                             amount of nicotine contained in the JUUL Product is perhaps six time less than in a pack of

                                             cigarettes, but the actual amount of nicotine consumed via a JUUL Product is as much as twice as




                                            61
                                               Lawler et al., Surveillance of Nicotine and pH in Cigarette and Cigar Filler(Apr 1, 2018), Tob Regul Sci. 3(Suppl 1):
                                            101-116, www.ncbi.nlm.nih.gov/pmc/articles/PMC5628511/(as of July 5 2019).
                                            62 Jarvis et al., Nicotine Yield From Machine-Smoked Cigarettes and Nicotine Intakes in

                                            Smokers: Evidence From a Representative Population Survey (Jan 17, 2001), JNCI, Vol. 93, 2:134-13B,
                                            www.ncbi.nlm.nih.gov/pubmed/11208883(as of July 5 2019).

                                                                                                       36
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 44 of 91 PageID #:58




                                            high as that via cigarettes. This fact was never mentioned by the JUUL DEFENDANTS, the E-

                                            LIQUID MANUFACTURING DEFENDANTS,and/or the DISTRIBUTOR DEFENDANTS.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                    150.    Further, while a pack of cigarettes contains 20 cigarettes which each have to be

                                            separately lit, the JUUL Products can be inhaled continuously, and often can be used indoors

                                            without detection by others, a feature that JUUL promoted heavily in its advertisements,

                                            eliminating the need for smoking breaks. Thus, the device design leads users to intake far more

                                            nicotine than would occur with cigarettes.

                                                    151.    Finally, the JUUL device does not have a manual or automatic off switch. On

                                            information and belief, neither the JUUL Products nor the programming of the JUUL device's

                                            temperature or puff duration settings limit the amount of nicotine JUUL delivers each puff to the

                                            upper bound of a cigarette. Thus, in contrast to a traditional cigarette, which self-extinguishes as

                                            each cigarette is consumed, the JUUL device allows non-stop nicotine consumption which is

                                            limited only by the device's battery. As a result, the JUUL device is able to facilitate consumption

                                            of extraordinarily high levels of nicotine that a cigarette cannot match. This makes it easier for the

                                            user to become addicted and poses additional health risks.

                                                    1 52.   Contrary to the JUUL DEFENDANTS, the E-LIQUID MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS' representations, the above data

                                            indicate that each JUUL Product delivers significantly more nicotine than a pack of cigarettes,

                                            both per pack and per puff. JUUL's products thus have the foreseeable effect of exacerbating

                                            nicotine addiction and the adverse health effects associated with nicotine consumption.

                                                    1 53.   JUUL, ALTRIA, and Management recognized that one of the keys to growing and

                                            preserving the number of nicotine-addicted e-cigarette users(and thus, JUUL's staggering market

                                            share), was to mislead potential customers about the true nature of JUUL products. Defendants



                                                                                             37
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 45 of 91 PageID #:59




                                            knew that if it became public that JUUL Products were designed as a way to introduce nicotine to

                                            youth and otherwise hook new users with its potent nicotine content and delivery, it would not
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            survive the public and regulatory backlash. Therefore, JUUL (with the knowledge and support of

                                            Management) and ALTRIA repeatedly made false and misleading statements to the public that

                                            JUUL Products were created and designed as a smoking cessation device, and falsely and

                                            misleadingly used the mails and wires to spread the subterfuge. JUUL, Management,and ALTRIA

                                            committed these deceptive, misleading and fraudulent acts intentionally and knowingly. In making

                                            these representations, JUUL, Management, and ALTRIA intended that consumers, the public, and

                                            regulators rey on misrepresentations that JUUL Products were designed to assist smoking

                                            cessation.

                                                     154.    The most blatant evidence of the cover-up scheme was the January 2019, $10

                                            million "Make the Switch" television advertising campaign. This campaign, which was the

                                            continuation of JUUL's web-based Switch campaign, was announced less than a month after

                                            ALTRIA announced its investment in JUUL.

                                                     155.    The "Make the Switch" television ads featured former smokers aged 37 to 54

                                            discussing "how JUUL helped them quit smoking."63 According to JUUL's Vice President of

                                            Marketing, the "Make the Switch" campaign was "an honest, straight down the middle of the

                                            fairway, very clear communication about what we're trying to do as a company."64 These

                                            statements were false as JUUL e-cigarettes were not intended to be a smoking cessation device.

                                            JUUL,and ALTRIA committed acts of deceit and fraud when they caused the "Make the Switch"

                                            campaign to air on television with the fraudulent intent of deceiving and misleading the public, the



                                            63 Angelica LaVitD, JLI combats criticism with new TV ad campaign featuring adult smokers who quit after switching
                                            to e-cigarettes, CNBC (Jan. 8, 2019), https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-
                                            cigarettes-in-ado mpaign.htm I.
                                              Id.

                                                                                                   38
                                               Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 46 of 91 PageID #:60




                                             United States Congress, and government regulators into believing that the company is and had
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                             been focused solely on targeting adult smokers. ALTRIA also committed acts of deceit and fraud

                                             when they caused tens of thousands, if not millions, of written versions of the Make the Switch

                                             campaign to be distributed with packages of its combustible cigarettes.

                                                      156.    JUUL Products have been framed as smoking cessation devices in their public

                                             statements on their and website. Monsees explained during his testimony before Congress:

                                                              "The history of cessations products have extremely low efficacy.
                                                              That is the problem we are trying to solve here. So, if we can give
                                                              consumers an alternative and market it right next to other cigarettes,
                                                              then we can actually make something work. [T]raditional nicotine
                                                              replacement therapies, which are generally regarded as the gold
                                                              standard for tools, right, for quitting, those are nicotine in a patch or
                                                              a gum form, typically, and the efficacy rates on those hover just
                                                              below about a 10 percent or so. JUUL-we ran a very large study of
                                                              JUUL consumers,ex-smokers who had picked up JUUL,and looked
                                                              at them, looked at their usage on a longitudinal basis, which is
                                                              usually the way that we want to look at this, in a sophisticated
                                                              fashion ... what we found was that after 90 days, 54 percent ofthose
                                                              smokers had stopped smoking completely, for a minimum of 30
                                                              days already. And the most interesting part of this study is that if
                                                              you follow it out further, to 180 days, that number continues to go
                                                              up dramatically, and that is quite the opposite of what happens with
                                                              traditional nicotine replacement therapies."65

                                                      157.    In response to a direct question about whether people buy JUUL to stop smoking,

                                             Monsees candidly responded:"Yes. I would say nearly everyone uses our product as an alternative

                                             to traditional tobacco products."66

                                                      158.    Other illustrative and non-exhaustive examples include the following:

                                             Statements by Defendant JUUL:



                                            655
                                                Testimony of JAMES Monsees, Co-founder and Chief Product Officer, JUUL Labs, Inc., Subcommittee on
                                            Economic and Consumer Policy, Committee on Oversight and Reform, Hearing on Examining JUUL 's Role in the
                                            Youth Nicotine Epidemic: Part 2(July 25, 2019), https://oversight.house.gov/legislation/hearings/examining-juul-s-
                                            role-in-the-youth-nicotineepidemic-part-ii
                                            "Id.

                                                                                                    39
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 47 of 91 PageID #:61




                                                     159.      "JUUL Labs was founded by former smokers, James and Adam, with the goal of
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                             improving the lives ofthe world's one billion adult smokers by eliminating cigarettes. We envision

                                             a world where fewer adults use cigarettes, and where adults who smoke cigarettes have the tools

                                             to reduce or eliminate their consumption entirely, should they so desire."(JLI Website, April 2018

                                            (or earlier));67

                                                     160. "JUUL Labs, which exists to help adult smokers switch off of combustible

                                             cigarettes."(JLI Website, September 19, 2019); and,68

                                                     161.      "To paraphrase Commissioner Gottlieb, we want to be the offramp for adult

                                             smokers to switch from cigarettes, not an on-ramp for America's youth to initiate on nicotine."

                                            (JLI Website, November 13, 2018);69

                                             Statements by ALTARIA:

                                                     162. "We are taking significant action to prepare for a future where adult smokers

                                             overwhelmingly choose non-combustible products over cigarettes by investing $12.8 billion in

                                             JUUL, a world leader in switching adult smokers . . . . We have long said that providing adult

                                             smokers with superior, satisfying products with the potential to reduce harm is the best way to

                                             achieve tobacco harm reduction."(ALTRIA Website, December 20, 2018);7° and,

                                                     163.      We believe e-vapor products present an important opportunity to adult smokers to

                                             switch from combustible cigarettes."(Letter to FDA Commissioner Gottlieb, 10/25/18).71




                                             67
                                               Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited February 7, 2020).
                                             68
                                               CONSUMER UPDATE:9/19, JUUL Labs, Inc (Sept. 19, 2019), https://newsroom.juul.com/consumer-update-9-19/.
                                               J LI Labs Action Plan, JUUL Labs, Inc.(Nov. 13, 2018), https://newsroom.juul.com/juullabs-action-plan/
                                            (statement of then-CEO Kevin Burns).
                                            70
                                               ALTRIA Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive Growth,
                                             BUSINESSWIRE (Dec. 20, 2018, 7:00 AM EST),
                                             https://www.businesswire.cominews/home/20181220005318/en/ALTRIA-12.8-BillionMinority-Investment-jUUL-
                                             Accelerate.
                                            71 Letter from Howard A. Willard III, ALTRIA, to Dr. Scott Gottlieb, FDA, 2(October 25, 2018).

                                                                                               40
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 48 of 91 PageID #:62




                                                     164. "We have long said that providing adult smokers with superior, satisfying products

                                            with the potential to reduce harm is the best way to achieve tobacco harm reduction. Through Juul,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            we are making the biggest investment in our history toward that goal."(ALTRIA Earning Call,

                                            December 20, 2018)

                                                     165.   "Through JUUL, we have found a unique opportunity to not only participate

                                            meaningfully in the e-vapor category but to also support and even accelerate transition to

                                            noncombustible alternative products by adult smokers." (ALTRIA Earning Call, January 31,

                                            2019);

                                                     166.   We expect the JUUL product features that have driven JUUL's success in switching

                                            adult smokers in the U.S. to strongly appeal to international adult cigarette smokers.(ALTRIA

                                            Earning Call, January 31, 2019).

                                                     167.   The    JUUL        DEFENDANTS,       the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS knew at the time of making these

                                            statements that they were false, deceptive and misleading. JUUL e-cigarettes do not have FDA

                                            approval as a cessation product.

                                                     168.   The    JUUL        DEFENDANTS,       the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS' tacit message in their Switch

                                            advertisements is switch because, unlike cigarettes, JUUL Products are harmless to your health.

                                                     169.   The    JUUL        DEFENDANTS,       the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS' false, deceptive and misleading

                                            Switch campaign suggests that smoking and JUULing are mutually exclusive and that purchasing

                                            a JUUL Product will "switch" a smoker to a non-smoker.




                                                                                           41
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 49 of 91 PageID #:63




                                                        170.    the JUUL DEFENDANTS,the E-LIQUID MANUFACTURING DEFENDANTS,

                                                and/or the DISTRIBUTOR DEFENDANTS knew that a large number of smokers who use JUUL
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                products do not end up switching but end up consuming cigarettes and JUUL Products.

                                                        171.    JUUL has advertised cost-savings calculators as part of its Switch campaign. Those

                                                calculators assume that a smoker who switches will continue consuming the same amount of

                                                nicotine that he or she did as a smoker (i.e., a pack a day smoker is presumed to consume one

                                                JUULpod        a day). the JUUL DEFENDANTS, the E-LIQUID                          MANUFACTURING

                                                DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS knew that the calculator is

                                                misleading because smokers who switch to JUUL Products typically increase their nicotine intake

                                                or end up consuming cigarettes and JUUL Products, rendering the calculator misleading at best.

                                                        172.    the JUUL DEFENDANTS,the E-LIQUID MANUFACTURING DEFENDANTS,,

                                                and/or the DISTRIBUTOR DEFENDANTS ensured that JUUL Products were the opposite of a

                                               "tool[] to reduce or eliminate" nicotine consumption. According to the National Institutes of

                                                Health, the "amount and speed of nicotine delivery . . . plays a critical role in the potential for

                                                abuse of tobacco products."72 As described above, JUUL and Bowen designed the JUUL Products

                                                to deliver nicotine in larger amounts and at a faster rate than even cigarettes, and then knowingly

                                                misled the public about those facts.

                                                        173.    In late 2019, and in response to the House of Representatives hearings in which

                                                JUUL Executives testified, the FDA issued two warning letters to JUUL detailing its concern that




                                            ' CDC et al., Nicotine Addiction: Past and Present, How Tobacco Smoke Causes Disease (2010),
                                            https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92.

                                                                                                   42
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 50 of 91 PageID #:64




                                            JUUL was unlawfully marketing its e-cigarette products as cessation tools or as "modified risk

                                            tobacco products" within the meaning of the FDCA.73
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                    174.     Through the false and deceptive viral marketing campaign, described above, the

                                            JUUL DEFENDANTS had built a successful product, largely on the back ofimproperly marketing

                                            to youth and by creating a false impression that that JUUL Products were "safer" than cigarettes.

                                                    175.     After achieving early success, the JUUL DEFENDANTS knew that to take its

                                            profits to the next level and dramatically expand the market for JUUL Products, it needed to access

                                            a broader distribution channel, namely marketing and selling its products in the thousands of chain

                                            convenience stores throughout the United States. Indeed, a single contract to market and sell

                                            through a convenience store chain could result in JUUL Products being sold in thousands ofstores

                                            to millions of customers.

                                                    176.     Not only had the JUUL DEFENDANTS emulated the cigarette industry in its

                                            marketing, but they also sought to recreate the cigarette industry's distribution machine to push

                                            that marketing to a far wider swath of consumers than JUUL itself could reach. That distribution

                                            machine included the major retail convenience stores ("Chain Convenience Stores"). It also

                                            included the cigarette industry distributors who had been the powerful middlemen between the

                                            cigarette industry and the Chain Convenience Stores in the cigarette market for decades.

                                                    177.     While the cigarette industry distributors largely operated behind the scenes of

                                            cigarette manufacturing giants like PHILLIP MORRIS(ALTRIA)and R.J. Reynolds, they too are

                                            giants in the cigarette industry who have played a significant role in the decades of massive

                                            cigarette sales in America.




                                               SU.S. Food and Drug Administration Warning Letter to JUUL Labs,(September 9, 2019),
                                            h ttps://www.fda.goviinspections-compliance-enforcement-and-criminal-investigations/warninglettershuul-labs-
                                            inc-590950-09092019.

                                                                                                 43
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 51 of 91 PageID #:65




                                                     178.    For example, the cigarette industry Distributor Defendant MCLANE is a wholly
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            owned subsidiary ofBerkshire Hathaway74 with an annual revenue ofapproximately $50 billion.75

                                            MCLANE provides wholesale distribution services in all 50 states to customers that include

                                            convenience stores, discount retailers, wholesale clubs, drug stores, military bases, quick service

                                            restaurants and casual dining restaurants. MCLANE maintains a dominant market share within the

                                            convenience store industry and serves most of the national convenience store chains, providing

                                            products to approximately 50,000 retail locations nationwide.76 MCLANE has served as one of

                                            the largest tobacco distributors in the United States for the cigarette industry giants such as

                                            ALTRIA and R.J. Reynolds.77         78   MCLANE is the largest wholesale distributor for ALTRIA,

                                            accounting for approximately 27%,26% and 25% of ALTRIAS' consolidated net revenues for the

                                            years ended December 31, 2018, 2017 and 2016, respectively.

                                                    179.     Similarly, CORE-MARK is one of the largest wholesale distributors to the

                                            convenience retail industry in North America, providing sales, marketing, distribution and logistics

                                            services to approximately 43,000 customer locations across the United States ("U.S.") and

                                            Canada.503 CORE-MARK posted an annual revenue of over $16 billion in 2018.79

                                                    180.    EBY BROWN is the largest privately-owned tobacco,candy and convenience store

                                            distributor in the United States. The company services over 14,500 convenience stores around the

                                            United States, including the Speedway convenience store chain.




                                               https://www.mclaneco.com/content/mclaneco/en/home.html
                                               https://www.berkshirehathaway.com/2018ar/2018ar.pdf
                                            76 Berkshire Hathaway 10-K at K-18.

                                            77 "The largest customer of PM USA, USSTC, Middleton and Nat Sherman, MCLANE COMPANY, Inc., accounted for

                                            approximately 27%, 26% and 25% of ALTRIA's consolidated net revenues for the years ended December 31, 2018,
                                            2017 and 2016, respectively." http://www.snl.com/Cache/c396883765.html.
                                            78 Reynolds America, 2016 Inc. 10-K, https://seekingalpha.com/filing/2987262.

                                            79 CORE-MARK 2018 10-K, at 3.



                                                                                                44
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 52 of 91 PageID #:66




                                                      181.     The DISTRIBUTOR DEFENDANTS were necessary partners to elevate the JUUL

                                             market and ensure that the JUUL DEFENDANTS false and deceptive marketing campaign had a
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                             wide reach. Indeed, from years of partnering with the cigarette industry and their existing

                                             relationships with the Chain Convenience Stores, the cigarette industry distributors already had

                                             the existing infrastructure to widely push JUUL products to a massive audience serviced by their

                                             existing customers.

                                                      182.     Not only were the cigarette industry's distributors valuable to JUUL

                                             DEFENDANTS but JUUL Products were valuable to the DISTIBUTOR DEENDANTS.

                                                      183.     By the time JUUL launched its e-cigarette in 2015, cigarette consumption had been

                                             steadily declining for over a decade. Based on data compiled from the U.S. Department of

                                             Agriculture - Economic Research Service and provided by the Tobacco Merchants Association

                                            ("TMA"), total cigarette consumption in the U.S. declined from 351 billion cigarettes in 2008 to

                                             249 billion cigarettes in 2017, or a compounded annual decline of approximately 3.4%.80 An entire

                                             industry including the cigarette industry distributors had depended on lucrative cigarette sales for

                                             decades

                                                      184.     The entire cigarette industry was hurting. Indeed, as announced in COREMARK's

                                             2018 Annual Report, a slow-down in tobacco sales was affecting the major tobacco distributors'

                                             bottom line.81

                                                      185.     Capitalizing on the void left by a slow-down in cigarette sales, JUUL approached

                                             the cigarette industry distributors, including MCLANE, CORE-MARK and EBY BROWN, and




                                            "CORE-MARK 10-K at 2.
                                            81 CORE-MARK 2018 10-K at 1("The rate of growth in our net sales was lower than what we experienced the last

                                            several years due primarily to an acceleration of the decline of cigarette carton sales as well as fewer significant
                                            retail chains bidding their business in 2018.").

                                                                                                      45
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 53 of 91 PageID #:67




                                            convinced them that one of the ways to plug their financial hole was to join JUUL in growing the
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            e-cigarette market.

                                                       186.   This could be accomplished by plugging the JUUL Products into the cigarette

                                            industry marketing and distribution model that had been so successful for decades.

                                                       187.   The proposal was attractive to the cigarette industry distributors as they could use

                                            JUUL to assuage investors that the void created by declining cigarette sales could be filled. For

                                            example, in 2018, CORE-MARK assured investors that "a greater decline in total cigarette

                                            consumption has been partially offset by consumption of alternative nicotine products and

                                            [OTHER TO3ACCO PRODUCTS (OTP)]."82 CORE-MARK detailed how selling e-cigarettes

                                            would fill a financial void for the company for years to come stating that "[a]lthough we anticipate

                                            overall cigarette consumption will continue to decline, we expect to offset these declines through

                                            continued growth in our non-cigarette categories including alternative nicotine products and OTP,

                                            market share expansion and incremental gross profit from cigarette manufacturer price

                                            increases."83

                                                       188.   Plugging the hole left by declining cigarette sales and reaping the profits attainable

                                            through JUUL Product margins were only possible, however, if the cigarette industry distributors

                                            were able to activate their distribution juggernaut to convince their Chain Convenience Store trade

                                            partners to widely market and sell JUUL Products. In short, the entire supply chain had to commit

                                            to the deceptive marketing and sales campaign that JUUL had started.

                                                       189.   Starting in 2016, each of the cigarette industry distributors, including

                                            DISTIBUTOR DEENDANTS committed to joining with JUUL DEFENDANTS to elevate the

                                            JUUL Product market. That was accomplished by JUUL DEFENDANTS and the Cigarette


                                            82
                                                 CORE-MARK 1)-K at 4.
                                            83/d



                                                                                               46
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 54 of 91 PageID #:68




                                            Industry Distributors by pushing JUUL DEFENDANTS'dangerous products which were designed

                                            for and aimed at youth to its Chain Convenience Store partners, and through them to the ultimate
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            customers. It was accomplished by ensuring that JUUL DEFENDANTS' false deceptive and

                                            dangerous marketing campaign was pushed to the Chain Convenience Stores and from there to a

                                            wide swath of convenience store customers across the United States.

                                                     190.     Indeed, the cigarette industry distributors, including the DISTIBUTOR

                                            DEENDANTS, became an essential piece of the supply chain to push products to millions of

                                            customers around the United States.

                                                     191.     Even though the cigarette industry distributors knew that the JUUL Products

                                            contained nicotine, from at least 2016 to 2018, the DISTRIBUTOR DEFENDANTS, the

                                            RETAILER DEFENDANTS, the JUUL DEFENDANTS worked to sell JUUL Products that

                                            neither disclosed the products' nicotine content, nor any of its risks.

                                                     192.     The use of e-cigarettes, including JUUL Products, cause significant lung toxicity"

                                            and have been implicated in multiple severe pathological lung injuries.

                                                     193.     Recent studies have demonstrated that exposure to JUUL aerosol induces oxidative

                                            stress, inflammation, epithelial barrier dysfunction, and DNA damage in lung cells.85

                                                     194.     Lung epithelial cells are the first-line ofdefense and provide barrier protection from

                                            toxic inhalants. Epithelial barrier dysfunction can allow toxic inhalants access to systemic

                                            circulation by which they can interact with other tissues to generate fibrosis and encourage

                                            infection. In addition, the impaired barrier function allows greater passage of inhaled chemicals




                                               Lauren F. Chun et al., Pulmonary Toxicity of E-cigarettes, 313 Am. J. Physio. Lung Cell Mol. Physiol L193(May 18,
                                            2017), https://www.ncbi.nlm.nih.gov/pubmed/28522559.
                                            85
                                               1 Thivanka Muthumalage, et al., E-cigarette Flavored Pods Induce Inflammation, Epithelial Barrier Dysfunction,
                                            and DNA Damage in Lung Epithelial Cells and Monocytes,9 Scientific Reports 19035(2019),
                                            https://www.nature.com/articles/s41598-019-51643-6.

                                                                                                    47
                                                 Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 55 of 91 PageID #:69




                                            into the body, increasing inflammation both locally in the lungs and systemically. This can lead to

                                            acute and chronic lung injury as well as exposure to, and increased susceptibility to, infections in
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            users of e-cigarettes, including JUUL Products.8687

                                                      195.    Research has also demonstrated that ultrafine metal particles from heating devices

                                            have been found in e-cigarette aerosol, and in e-cigarette user's lungs.88

                                                      196.    In addition, exposure to JUUL aerosol has shown to significantly impair endothelial

                                            function comparable to impairment of endothelial function caused by use of combustible

                                            cigarettes.89

                                                      197.    It is well-established that endothelial dysfunction and injury from direct toxic

                                            effects of inhalants such as cigarette smoke, cause lung injuries such as chronic obstructive

                                            pulmonary disease (COPD),emphysema, asthma and chronic bronchitis.9°

                                                      198.    Recent epidemiological and toxicological studies detected links between asthma

                                            frequency and e-cigarette use in adolescents and reported that vaporized e-liquids containing the

                                            same flavor aldehydes found in JUUL induce inflammation in human respiratory epithelia.91

                                                      199.    In 2015, Moore et al., published a case report describing bilateral pneumonia and

                                            pleural effusions associated with e-cigarette use.92



                                            86 Laura E. Crotty Alexander et al. Chronic Inhalation of E-cigarette Vapor Containing Nicotine Disrupts Airway
                                             Barrier Function and Induces Systemic Inflammation and Multiorgan Fibrosis in Mice, 314 Am. J. Physiol. Regul.
                                            Comp. Physiol. R834(2018), https://journals.physiology.org/doi/ful1/10.1152/ajpregu.00270.2017.
                                            87
                                               Pieter S. Hiemstra et al., The Innate Immune Function of Airway Epithelial Cells in Inflammatory Lung Disease, 45
                                             Eur. Respir. J. 1150(2015), https://erj.ersjournals.com/content/45/4/1150.
                                            88
                                               Alessandra Caporale et al., Acute Effects of Electronic Cigarette Aerosol Inhalation on Vascular Function
                                             Detected at Quantitative MRI, 293 Radiology 97(2019), https://www.ncbi.nlm.nih.gov/pubmed/31429679.
                                            89
                                               Poonam Rao et al., Juul and Combusted Cigarettes Comparably Impair Endothelial Function,6 Tob. Regul. Sci. 30
                                            (2020), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6953758/.
                                            80 Francesca Polverino et al. COPD as an Endothelial Disorder: Endothelial Injury Linking Lesions in the Lungs and

                                            Other Organs? 8 Pulm. Circ. 2045894018758528(2018), https://www.ncbi.nlm.nih.gov/pubmed/29468936.
                                            91 Phillip W. Clapp and Ilona Jaspers, Electronic Cigarettes: Their Constituents and Potential Links to Asthma, 79
                                            Curr Allergy Asthma Rep. 17(2017), https://www.ncbi.nlm.nih.gov/pubmed/28983782.
                                            82 Kendall Moore et al., Bilateral Pneumonia and Pleural Effusions Subsequent to Electronic Cigarette Use, 3 Open

                                            Journal of Emergency Medicine 18(2015).

                                                                                                    48
                                              Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 56 of 91 PageID #:70




                                                     200.     In short, older adults, especially those who were smokers are at increased risk of

                                             lung and other complications due to their baseline higher risk status, making them more vulnerable
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                             to the adverse health effects of vaping. Accordingly, as quoted by AARP, Brian King, Deputy

                                             Director for Research Translation of the Office on Smoking and Health at the Centers for Disease

                                             Control and Prevention(CDC)stated,"Everyone, including older adults, should refrain from using

                                             all e-cigarettes and vape products."93

                                                     201.     It has been established that the use of e-cigarettes, including JUUL, can lead to

                                             acute and chronic lung injuries such as EVALI, infection, lipoid pneumonia, organizing

                                             pneumonia, chemical pneumonitis, alveolar hemorrhage, bronchiolitis obliterans (popcorn lung),

                                             pneumothorax, acute respiratory failure, acute respiratory distress syndrome (ARDS), asthma,

                                             emphysema and COPD. Defendants never warned the public of the risk of serious acute and

                                             chronic lung injuries that were associated with the use ofe-cigarettes, including JUUL.In fact, JLI

                                             downplayed any risk associated with the inhalation of JUUL aerosol and continued to overtly

                                             promote JUUL as safe.

                                                     202.     It is notable, however, that in August 2019, JLI CEO Kevin Burns admitted that the

                                             long-term health effects of JUUL are unknown.94 The failure to properly and adequately test the

                                             safety of JUUL Products prior to marketing them to the public, and continuing in the face of the

                                             onslaught of publications in the medical literature demonstrating an association with e-cigarette

                                             use and significant lung injuries, and infection, amounts to a reckless disregard for public safety.




                                            "Sari Harrar, Vaping Dangers for Older Adults: What to know about recent lung illnesses and deaths, AARP (Oct.
                                            17, 2019), https://www.aarp.org/health/conditions-treatments/info2019/vaping-e-cigarettes-illnesses-
                                            deaths.html
                                            "CBS Interview JLI CEO, Kevin Burns (August 29, 2019).

                                                                                                   49
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 57 of 91 PageID #:71




                                                                      Michael Lumpkins Events Leading to Injury
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   203.     In and/or after 2017, Plaintiff, LUMPKINS, was exposed to the JUUL

                                            DEFENDANTS, the            E-LIQUID       MANUFACTURING              DEFENDANTS,      and/or   the

                                            DISTRIBUTOR DEFENDANTS' advertising and promotional efforts via many sources.

                                                   204.     Beginning in or around 2018, Plaintiff, LUMPKINS,switched to e-cigarettes as an

                                            alternative to smoking.

                                                   205.     In and/or around 2018, Plaintiff, LUMPKINS, purchased his first JUUL e-

                                            cigarettes after being misled that it is a safe alternative form of nicotine.

                                                   206.     Between 2018, and September, 2019, Plaintiff, LUMPKINS, used and purchased

                                            JUUL Products many times, including, but not limited to flavored JUUL Products that were:

                                            manufactured, designed, and/or distributed by the JUUL DEFENDANTS, THE E-LIQUID

                                            DEFENDANTS; and distributed by the DISTRIBUTOR DEFENDANTS.

                                                   207.    In August 2019, Plaintiff LUMPKINS presented to Defendant, PALOS and was

                                            diagnosed with pneumonia. He was then given antibiotics and a prescription for antibiotics to treat

                                            his pneumonia.

                                                   208.     In August 2019 and prior to September 10, 2021, Plaintiff, LUMPKINS, received

                                            treatment and evaluation for his pneumonia from actual agents, apparent agents, and/or employees

                                            of Defendant, PALOS.

                                                   209.    On or prior to September 10, 2019, Plaintiff, LUMPKINS experienced head ache,

                                            slurred speech, nausea, vomiting, facial droop, speech delay, and/or cognitive abnormality.

                                                   210.    On or about September 10, 2019, Plaintiff, LUMPKINS, presented to Defendant,

                                            PALOS for examination, treatment and medical services.




                                                                                              50
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 58 of 91 PageID #:72




                                                   211.    On or about September 10, 2019, and at all times material, Defendant, PALOS,

                                            presented itself as a health-care institution qualified and equipped to render medical, surgical, and
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            other health-care related services individually as an institution and through its agents, and/or

                                            employees, including without limit, HALPERN, VAN BEEK,and/or others.

                                                   212.    On or about September 10, 2019, and at all times material, PALOS employed

                                            agents, and/or employees including, without limit, medical providers physicians, nurses,

                                            therapists, HALPERN,and/or VANBEEK,and/or others.

                                                   213.    On or about September 10,2019,and at all times material, agents, and/or employees

                                            including, without limit, medical providers physicians, nurses, therapists, HALPERN, and/or

                                            VAN-BEEK,and/or others, acted at all times material in the course and scope of their employment

                                            with PALOS.

                                                   214.    On or about September 10, 2019, and at all times material, PALOS, individually

                                            and by and through the actions and/or omissions of its actual agents, apparent agents, and/or

                                            employees including, without limit, medical providers physicians, nurses,therapists, and/or others,

                                            HALPERN, and/or VANBEEK, and/or others, and/or each of them, provided certain

                                            examinations, medical care, treatment and/or services to Plaintiff, LUMPKINS.

                                                   215.    On or about September 10, 2019, Plaintiff, LUMPKINS, received certain care,

                                            treatment and evaluation at and/or by Defendant, PALOS,individually, and/or by and through the

                                            actions and/or omissions of its actual agents, apparent agents, and/or employees, medical

                                            providers, physicians, nurses, therapists, including without limit, HALPERN, VAN BEEK,and/or

                                            others, and each of them.




                                                                                             51
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 59 of 91 PageID #:73




                                                   216.    On or about September 10, 2019, and at all times material, Defendant, HALPERN,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            was an actual agent, apparent agent, and/or employee of Defendant, PALOS, Defendant CEP

                                            ILLINOIS, and/or Defendant VITUITY.

                                                   217.    On or about September 10, 2019, and at all times material, Defendant, HALPERN,

                                            was an acting within the scope and course of his agency and/or employment relationship with

                                            Defendant, PALOS,Defendant CEP ILLINOIS, and/or Defendant VITUITY.

                                                   218.    On or about September 10, 2019,and at all times material, Defendant, VAN BEEK,

                                            was an actual agent, apparent agent, and/or employee of Defendant, PALOS, and/or Defendant,

                                            RADIOLOGY.

                                                   219.    On or about September 10,2019,and at all times material, Defendant, VAN BEEK,

                                            was an acting within the scope and course of his agency and/or employment relationship with

                                            Defendant, PALOS, and/or Defendant, RADIOLOGY.

                                                   220.    On or about September 10, 2019, and at all times material, Defendant, PALOS,

                                            individually, and by and through the action and/or omissions of its actual agents, apparent agents,

                                            and/or employees, including without limit, HALPERN, VAN BEEK, and/or others, and each of

                                            them, had a duty to possess and apply the knowledge and exercise the care and skill of a reasonably

                                            well-qualified health care provider under the same or similar circumstances.

                                                   221.    On or about September 10, 2019, and at all times material, Plaintiff, LUMPKINS,

                                            is documented in the PALOS emergency department records to have presented to PALOS

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees including, without limit, medical providers physicians, nurses, therapists,

                                            HALPERN,and/or VANBEEK, and/or others, and/or each of them with: complaints of a severe

                                            headache, vomiting, aphasia, slurred speech, right-sided weakness that began earlier in the day.



                                                                                            52
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 60 of 91 PageID #:74




                                            Neurological deficits were noted as were Plaintiff's symptoms of headache, nausea, multiple

                                            episodes of nonbloody nonbilious emesis. A history of pneumonia and an absence of evidence of
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            cancer was document.

                                                   222.    On or about September 10, 2019, and at all times material, Defendant, PALOS,

                                            individually and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees including, without limit, medical providers physicians, nurses, therapists,

                                            HALPERN and/or others, ordered a head CT scan with the stated reason of headache.

                                                   223.    On or about September 10, 2019, and at all times material, Plaintiff, LUMPKINS,

                                            is documented in the PALOS emergency department records to have two(2)"lesions which appear

                                            to be metastatic cancer in the left frontal and left cerebellar area with edema and mass effect, as

                                            well as a midline shift of the frontal lesion", identified by a CT scan read by Defendant, VAN

                                            BEEK. He was also documented as having an elevated white blood cell count. That count was

                                            elevated despite the use of antibiotics.

                                                   224.    On or about September 10, 2019, and at all times material, PALOS, individually

                                            and by and through the actions and/or omissions of its actual agents, apparent agents, and/or

                                            employees including, without limit, medical providers physicians, nurses,therapists, and/or others,

                                            HALPERN,and/or VANBEEK,and/or others, and/or each ofthem, documented in the emergency

                                            room medical records that Plaintiff suffered from "brain metastases."

                                                   225.    On or about September 10, 2019, and at all times material, Plaintiff, LUMPKINS,

                                            was transferred to Advocate Christ Hospital for further treatment.

                                                   226.    On or about September 11, 2019, and at all times material, Plaintiff, LUMPKINS,

                                            is documented in the Advocate Christ Hospital medical records to have multiple masses and/or

                                            cystic lesions on the brain with mild hydrocephalus identified by an MRI exam.



                                                                                            53
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 61 of 91 PageID #:75




                                                   227.    On or about September 11, 2019, and at all times material, Plaintiff, LUMPKINS,

                                            was diagnosed with a cerebellar infection. This infection required emergent antibiotic treatment
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            and brain surgery.

                                                   228.    On or about September 11,2019, and at all times material, Plaintiff, LUMPKINS,

                                            underwent brain surgery to treat the cerebellar abscesses and received further treatment for the

                                            infection at Advocate Christ Hospital from September 11 to October 30, 2019.

                                                   229.    After September 11, 2019, Plaintiff, LUMPKINS, was diagnosed with a

                                            catastrophic brain injury caused by a cerebellar infection.

                                                   230.    On or abOut October 30, 2019, Plaintiff, LUMPKINS was discharged to a skilled

                                            nursing facility for further care and treatment due to the catastrophic brain injury caused by the

                                            cerebellar infection.

                                                   231.    On or about October 30, 2019, and/or at all times material, Plaintiff, LUMPKINS

                                            was been rendered cognitively and physically disabled and incompetent. Plaintiff, LUMPKINS,

                                            did not discover (and could not discover) that his injuries were wrongfully caused until long after

                                            September 11, 2019.

                                                   232.    At no time before Plaintiff, LUMPKINS,suffered infection and catastrophic brain

                                            injury did the JUUL DEFENDANTS, the E-LIQUID MANUFACTURING DEFENDANTS,

                                            and/or the DISTRIBUTOR DEFENDANTS involved in the research, development, marketing,

                                            and distribution of JUUL Products provide any warnings about the risks of infection, promotion

                                            of infection and/or other brain injury.

                                                   233.    At no time before Plaintiff, LUMPKINS,suffered infection and catastrophic brain

                                            injury did the JUUL DEFENDANTS, the E-LIQUID MANUFACTURING DEFENDANTS,




                                                                                            54
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 62 of 91 PageID #:76




                                            and/or the DISTRIBUTOR DEFENDANTS warn Plaintiff, LUMPKINS that JUUL Products were

                                            unsafe for him, nor was he instructed on how much of the JUUL Products was safe to consume.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   234.     The      JUUL       DEFENDANTS,       the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS,and/or the DISTRIBUTOR DEFENDANTS misrepresented the nicotine content

                                            of JUUL Products by representing them as 5% strength. As discussed above, JUUL Products

                                            contain more than 5% nicotine by volume, and deliver it in a form that is particularly potent.

                                                    235.    The      JUUL       DEFENDANTS,       the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS marketed JUUL Products as a safe

                                            "alternative to cigarettes," thereby giving the false impression that they are not harmful like

                                            traditional cigarettes and safe to use.

                                                    236.    Plaintiff, LUMPKINS did not and could not have known the risks associated with

                                            JUUL, because         The   JUUL      DEFENDANTS, the         E-LIQUID      MANUFACTURING

                                            DEFENDAN7S,and/or the DISTRIBUTOR DEFENDANTS had exclusive knowledge about the

                                            JUUL Products, including its designed, and concealed that information from him.

                                                    237.   Instead, as      a   result   of the   JUUL   DEFENDANTS, the           E-LIQUID

                                            MANUFACTURING DEFENDANTS, and/or the DISTRIBUTOR DEFENDANTS' wildly

                                            successful campaign, based on tactics developed by the cigarette industry and amplified in social

                                            media, Plaintiff, LUMPKINS reasonably believed that JUUL Products were a safe, and harmless,

                                            cigarette alternative.

                                                   238.    Plaintiff, LUMPKINS was unaware that the use of JUUL Products can cause

                                            cerebellar infection and brain injury. Had he known of the risks, he would not have started using

                                            JUUL Products.




                                                                                             55
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 63 of 91 PageID #:77




                                                                                        COUNT I
                                            (Strict Products Liability — the JUUL Defendants, the E-Liquid Manufacturing Defendants, and
                                                                               the Distributor Defendants)
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   1-238. Plaintiff realleges and incorporated by reference ¶1-238 stated fully herein.

                                                   239.    The     JUUL      DEFENDANTS,          the     E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS had a duty to warn Plaintiff,

                                            LUMPKINS ofthe risks and/or defects that were known and reasonably knowable with respect to

                                            the JUUL Products.

                                                   240.    The     JUUL      DEFENDANTS,          the     E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS never properly warned Plaintiff,

                                            LUMPKINS of these risks.

                                                   241.    At    all   relevant   times,   the   JUUL     DEFENDANTS, the           E-LIQUID

                                            MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS designed,

                                            manufactured, assembled, inspected, tested (or not), packaged, labeled, marketed, advertised,

                                            promoted, supplied, distributed, and/or sold the JUUL Products that Plaintiff, LUMPKINS

                                            consumed.

                                                   242.    JUUL Products were designed and intended to be used as a method of ingesting

                                            nicotine and the other vaporized constituents of JUUL's e-liquid solution.

                                                   243.    JUUL Products were sold in a defective condition that is unreasonably dangerous

                                            and unsafe to the consumer because the JUUL DEFENDANTS failed to adequately warn about

                                            the risk of nicotine addiction and entirely failed to warn of the risks of lung injuries, cerebellar

                                            infection andtor brain injury, among other harmful effects.




                                                                                            56
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 64 of 91 PageID #:78




                                                   244.    The JUUL DEFENDANTS effectively designed JUUL Products with a

                                            pharmacokinetic profile engineered to create risks of abuse and addiction (that exceeded that of a
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            cigarette) in that JUUL Products delivered more nicotine than cigarettes.

                                                   245.    JUUL Products do not perform as safely as a reasonable and ordinary consumer

                                            would reasonably assume and reasonably expect. JUUL Products contain and deliver more

                                            nicotine than is represented, are delivered by heat vaporization inhaled into the body,and contain

                                            and deliver other harmful products that injure multiple organ systems and are designed to cause

                                            nicotine addiction.

                                                   246.    The risks inherent in the design of JUUL Products significantly outweigh any

                                            benefits of such design.

                                                   247.    The     JUUL      DEFENDANTS,           the    E-LIQUID        MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS could have utilized cost effective,

                                            reasonably feasible alternative designs to minimize these harms, such as by designing products

                                            that delivered less nicotine per puff, used less potent and addictive forms of nicotine (without

                                            reduction of the "throat hit"), reduced repeated exposure to toxic chemicals that do not pose

                                            substantial health risks to users while still delivering sufficient levels of nicotine to preexisting

                                            cigarette smokers.

                                                   248.    The JUUL DEFENDANTS could have limited the duration of each puff to prevent

                                            the JUUL e-cigarette from delivering doses of nicotine far in excess of a cigarette on a per puff

                                            basis and could have designed the device to shut off for a period of time if excessive puffs were

                                            taken too close in time.

                                                   249.    The     JUUL       DEFENDANTS,          the    E-LIQUID        MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS failed to design the product with an



                                                                                             57
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 65 of 91 PageID #:79




                                            expiration or best if"used by" date, resulting in the potential for the products' chemical properties

                                            to change in a deleterious manner
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   250.    Plaintiff, LUMPKINS used JUUL Products as intended or in reasonably

                                            foreseeable ways.

                                                   251.    Plaintiff, LUMPKINS', injuries, physical, emotional and economic, were

                                            reasonably foreseeable to the JUUL DEFENDANTS, the E-LIQUID MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS at the time of the products' design,

                                            manufacture, distribution, and sale.

                                                   252.    JUUL Products were defective and unreasonably dangerous when they left the

                                            JUUL DEFENDANTS, the E-LIQUID MANUFACTURING DEFENDANTS, and/or the

                                            DISTRIBUTOR DEFENDANTS' possession. The defects continued to exist through the

                                            products' sale to and use by consumers, including Plaintiff, LUMPKINS, who used the products

                                            without any substantial change in the products' condition.

                                                   253.    At all times relevant, the JUUL Products, were also defective in one or more of the

                                            following respect:

                                                          a. Delivering a dangerously high amount of nicotine per puff;

                                                          b. Failing to warn consumers, including but not limited to Plaintiff, LUMPKINS,
                                                             of the dangerously high doses of nicotine deliver per puff of the JUUL devices;

                                                          c. Failing to warn consumers, including, but not limited to Plaintiff, LUMPKINS,
                                                             of the dangers of repeated exposure to toxic chemics in the JUUL e-liquid
                                                             aerosols;

                                                          d. The amount of nicotine contained in a JUUL Product is as much as twice as high
                                                             as that in a pack of cigarettes, and not as "approximately equivalent to a pack of
                                                             cigarettes" as represented;

                                                          e. JUUL Products cause, maintain, or aggravate infections and subject consumers
                                                             to the risks of concomitant health hazards that addictive;



                                                                                             58
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 66 of 91 PageID #:80




                                                          f. Failed to warn consumers, including, without limit, Plaintiff, LUMPKINS,that
                                                             JUUL Products cause, maintain, or aggravate infections and subject consumers
                                                             to the risks of concomitant health hazards that addictive;
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                          g. JUUL Products cause harm by increased exposure to nicotine and other harmful,
                                                             toxic ingredients as described herein in this complaint;

                                                          h. Failed to warn consumers, including, without limit, Plaintiff, LUMPKINS,
                                                             JUUL Products cause harm by increased exposure to nicotine and other harmful,
                                                             toxic ingredients as described herein in this complaint;

                                                          i. The representations about the actual nicotine content did not conform to the
                                                             pharmacokinetics of JUUL device use and the products' cigarette equivalence;

                                                          j. Failed to warn consumers, including, but not limited to, Plaintiff, LUMPKINS,
                                                             that JUUL PRODUCTS were unsafe for use

                                                          a. Was otherwise defective for use by consumers and the The JUUL
                                                             DEFENDANTS,the E-LIQUID MANUFACTURING DEFENDANTS,and the
                                                             DISTRIBUTOR DEFENDANTS had actual knowledge that the JUUL Products
                                                             were defective and unreasonably dangerous for use by consumers, such as
                                                             Plaintiff, LUMPKINS

                                                   254.    Plaintiff, LUMPKINS, consumption of the JUUL Products as directed by The

                                            JUUL DEFENDANTS, the E-LIQUID MANUFACTURING DEFENDANTS, and the

                                            DISTRIBUTOR DEFENDANTS involved substantial dangers that Plaintiff, LUMPKINS, would

                                            develop or worsen infection and lead to brain injury. This substantial danger was not readily

                                            recognizable to an ordinary consumer, including, but not limited to Plaintiff, LUMPKINS.

                                                   255.    Given the knowledge of The JUUL DEFENDANTS, the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS when they

                                            designed, manufactured, assembled, inspected, tested (or not), packaged, labeled, marketed,

                                            advertised, promoted, supplied, distributed, and/or sold the JUUL Products, and their knowledge

                                            before Plaintiff consumed JUUL Products, the JUUL DEFENDANTS, the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS failed to

                                            adequately warn of the dangers involved.


                                                                                          59
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 67 of 91 PageID #:81




                                                      256.   Due to the use of the JUUL Products, and as a direct and proximate result thereof,

                                            Plaintiff, LUMPKINS, was caused to develop a cerebellar infection, and/or use of the JUUL
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            PRODUCTS substantially contributed to the cerebellar infection, which led to a catastrophic brain

                                            injury.

                                                      257.   The    JUUL      DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS are liable under a theory of strict

                                            product liability as set forth in the Restatement(Second)of Torts.

                                                      258.   The JUUL Products in question reached the Plaintiff without any substantial change

                                            in the condition in which it was sold.

                                                      259.   Plaintiff, LUMPKINS, seeks all damages to which she may be justly entitled,

                                            including, but not limited to, past and future medical expenses, wage losses, physical pain and

                                            mental anguish, disfigurement, emotional distress, loss of normal life, disability, and physical

                                            impairment.

                                                      WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendants, JUUL LABS, INC., previously

                                            d/b/a as PAX LABS,INC. and PLOOM INC., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents and/or employees; ALTRIA GROUP, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; PHILIP MORRIS USA, INC., individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; ALTRIA CLIENT

                                            SERVICES LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; ALTRIA GROUP DISTRIBUTION COMPANY,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,



                                                                                             60
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 68 of 91 PageID #:82




                                            and/or employees; ALTRIA       ENTERPRISES LLC, individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees;; MOTHER MURPHY'S
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            LABS, INC., individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees; ALTERNATIVE INGREDIENTS,INC., individually, and by

                                            and through the actions and/or omissions of its actual agents, apparent agents, and/or employees;

                                            TOBACCO TECHNOLOGY,INC. individually,                and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees; ELIQUITECH, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; MCLANE COMPANY, INC., individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; EBY-BROWN

                                            COMPANY, LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; CORE-MARK HOLDING COMPANY, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; and/or WALGREENS CO., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees, and each of them, for such sum

                                            of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall represent just and

                                            fair representation.

                                                                                  COUNT II
                                                (Negligence — the JUUL Defendants, the E-Liquid Manufacturing Defendants, and the
                                                                            Distributor Defendants)

                                                    1-238. Plaintiff realleges and incorporated by reference ¶1-238 stated fully herein.

                                                   239.    At all relevant times, all the JUUL DEFENDANTS, the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS designed,

                                            manufactured, assembled, inspected, tested (or not), packaged, labeled, marketed, advertised,



                                                                                            61
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 69 of 91 PageID #:83




                                            promoted, supplied, distributed, and/or sold and/or otherwise placed the JUUL Products into the

                                            stream of commerce, and therefore owed a duty of reasonable care to avoid causing harm to those
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            that consumed it such as Plaintiff, LUMPKINS.

                                                   240.    The JUUL Products were the types of products that could endanger others if

                                            negligently made or promoted.

                                                   241.    The     JUUL      DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS had a duty of reasonable care in

                                            designing, manufacturing, assembling, inspecting, testing, packaging, labeling, marketing,

                                            advertising, promoting, suppling, distributing and/or selling the JUUL Products to avoid causing

                                            harm to those that consumed them.

                                                   242.    The     JUUL      DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS knew, or should have known that the

                                            exercise of reasonable care, the risks to consumers of JUUL e-cigarettes, a powerfully addictive

                                            and dangerous nicotine-delivery device.

                                                   243.    The     JUUL      DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS,and the DISTRIBUTOR DEFENDANTS knew or, by the exercise of reasonable

                                            care, should have known, ordinary consumers such as Plaintiff would not have realized the

                                            potential risks and dangers of JUUL Products. JUUL Products contain and deliver more nicotine

                                            than is represented, contain and deliver other harmful products that injure multiple organ systems,

                                            promote infection, and are designed to cause nicotine addiction.

                                                   244.    The     JUUL      DEFENDANTS,          the    E-LIQUID       MANUFACTURING

                                            DEFENDANTS,and the DISTRIBUTOR DEFENDANTS knew or, by the exercise of reasonable

                                            care, should have known, that JUUL Products posed risks including the risks of addiction, lung



                                                                                           62
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 70 of 91 PageID #:84




                                            injuries, infection, and/or brain injury, among other harmful effects, as described herein, that were

                                            known and knowable in light of scientific and medical knowledge that was generally accepted in
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            the scientific community at the time of design, manufacture, distribution, and sale of JUUL

                                            Products.

                                                   245.    The     JUUL      DEFENDANTS,           the    E-LIQUID        MANUFACTURING

                                            DEFENDANTS,and the DISTRIBUTOR DEFENDANTS knew or should have known that JUUL

                                            Products needed to be researched, designed, manufactured, assembled, inspected, tested packaged,

                                            labeled, marketed, advertised, promoted, supplied, distributed, and/or sold properly, without

                                            defects and with due care to avoid needlessly causing harm.

                                                   246.    The     JUUL      DEFENDANTS,           the    E-LIQUID        MANUFACTURING

                                            DEFENDANTS,and the DISTRIBUTOR DEFENDANTS knew or should have known that adults

                                            who were encouraged to cease smoking by using JUUL Products as a cessation device were

                                            individuals with greater health risk factors who were at enhanced risk of harm by utilizing the

                                            misleadingly labeled JUUL Products which misrepresented the nicotine content and failed to warn

                                            of the other chemicals' content and risks.

                                                   247.    The     JUUL      DEFENDANTS,           the    E-LIQUID        MANUFACTURING

                                            DEFENDANTS, and the DISTRIBUTOR DEFENDANTS were negligent, reckless and careless

                                            and failed to take the care and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm.

                                                   248.    At the time the JUUL Products left the JUUL DEFENDANTS, the E-LIQUID

                                            MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS' control it was

                                            unreasonably dangerous, defective, and unreasonably safe because ofone or more ofthe following:

                                                           a. Failure to perform adequate testing ofthe JUUL Products prior to marketing to
                                                              ensure safety, including long-term testing of the product, and testing for injury
                                                              to the brain and cardiovascular systems, respiratory, pulmonary and immune



                                                                                            63
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 71 of 91 PageID #:85




                                                          systems, and other related medical conditions, as well as its effect on mental
                                                          health
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                       b. Failure to warn consumers, including, but not limited to, Plaintiff, LUMPKINS
                                                          that JUUL Products had not been adequately tested or researched prior to
                                                          marketing to ensure safety;


                                                       c. Failure to take reasonable care in the design of JUUL Products;

                                                       d. Failure to use reasonable care in the production of JUUL Products;

                                                       e. Failure to use reasonable care in the manufacture of JUUL Products;

                                                       f. Failure to use reasonable care in the assembly of JUUL Products;

                                                       g. Failure of the DISTRIBUTOR DEFENDANTS to use reasonable care in
                                                          supplying and distributing JUUL Products;

                                                       h. Failure to use reasonable care in advertising, promoting, and marketing JUUL
                                                          Products;

                                                          Failure to use reasonable care in the sale of JUUL Products without adequate
                                                          warnings;

                                                      j. Use of a design that maximizes nicotine delivery while minimizing
                                                         "harshness," thereby easily creating and sustaining addiction;

                                                       k. Failure to utilize proper materials, ingredients, additives and components in the
                                                          design of JUUL Products to ensure they would not deliver unsafe doses of
                                                          nicotine and cause other injuries from inhalation of other hazardous chemicals
                                                          as described in the complaint;

                                                       I. Failure to inspect JUUL Products for them to operate properly and avoid
                                                          delivering unsafe levels of nicotine and causing the injuries described in the
                                                          complaint;

                                                       m. Failure to reasonably and properly test and properly analyze the testing ofJUUL
                                                          Products under reasonably foreseeable circumstances;

                                                       n. Failure to warn consumers about the dangers associated with use of JUUL
                                                          Products, in that it was unsafe, significantly increases risk of infection, and/or
                                                          progression of infection, is powerfully addictive, can cause permanent brain
                                                          injury, and impairment of thinking and cognition;




                                                                                        64
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 72 of 91 PageID #:86




                                                           o. Failure to warn consumers of negative health consequences associated with
                                                              exposure to nicotine and other harmful and toxic ingredients contained with
                                                              JUUL Products;
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                           P. Failure to warn consumers of the actual nicotine content, JUUL Products'
                                                              cigarette equivalence and the pharmacokinetics of JUUL use;

                                                           q.   Misleadingly stating the amount of nicotine in JUUL Products is
                                                                "approximately equivalent to a pack of cigarettes", when the amount of nicotine
                                                                contained in a JUUL Products is as much as twice as high as that n a pack of
                                                                cigarettes;

                                                           r. Failure to provide any instructions regarding a safe amount of JUUL Products
                                                              to consume in a day;

                                                           s. Failure to take necessary steps to modify JUUL Products to avoid delivering
                                                              high doses of nicotine' and repeatedly exposing them to toxic chemicals;


                                                           t. Failure to recall JUUL Products;

                                                           u. Misleading consumers, including, but not limited to, Plaintiff, LUMPKINS,
                                                              that JUUL Products are safe; and/or

                                                           v. Al! other failures, acts and omissions set forth herein.


                                                   249.    As a direct and proximate result of the aforementioned acts and/or omissions ofthe

                                            JUUL DEFENDANTS, the E-LIQUID MANUFACTURING DEFENDANTS, and the

                                            DISTRIBUTOR DEFENDANTS, Plaintiff, LUMPKINS was injured, has endured and will in the

                                            future endure pain and suffering; has become disabled and disfigured; has suffered a loss of the

                                            enjoyment of a normal life; and has been damaged in his capacity to earn a living; and has incurred

                                            past and future medical expenses.

                                                    WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendants, JUUL LABS, INC., previously

                                            d/b/a as PAX LABS,INC. and PLOOM [NC., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents and/or employees; ALTRIA GROUP, INC.,


                                                                                             65
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 73 of 91 PageID #:87




                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; PHILIP MORRIS USA, INC., individually, and by and through the actions
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            and/or omissions of its actual agents, apparent agents, and/or employees; ALTRIA CLIENT

                                            SERVICES LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; ALTRIA GROUP DISTRIBUTION COMPANY,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; ALTRIA       ENTERPRISES LLC, individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees;; MOTHER MURPHY'S

                                            LABS, INC., individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees; ALTERNATIVE INGREDIENTS,INC., individually, and by

                                            and through the actions and/or omissions of its actual agents, apparent agents, and/or employees;

                                            TOBACCO TECHNOLOGY,INC. individually,                and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees; ELIQUITECH, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; MCLANE COMPANY, INC., individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees; EBY-BROWN

                                            COMPANY, LLC, individually, and by and through the actions and/or omissions of its actual

                                            agents, apparent agents, and/or employees; CORE-MARK HOLDING COMPANY, INC.,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees; and/or WALGREENS CO., individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees, and each of them, for such sum

                                            of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall represent just and

                                            fair representation.



                                                                                            66
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 74 of 91 PageID #:88




                                                                                 COUNT III
                                             (Medical Negligence — Palos Community Hospital d/b/a Palos Hospital d/b/a Northwestern
                                                                            Medicine Palos Hospital)
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                    1-238. Plaintiff realleges and incorporated by reference 11-238 stated fully herein.

                                                    239.   On or about September 10, 2019, and at all times material, PALOS, individually

                                            and through its agents, and/or employees including, without limit, medical providers physicians,

                                            nurses, therapists and/or others, HALPERN,and/or VANBEEK,and/or others, and each of them,

                                            had a duty to possess and apply the knowledge and exercise the care and skill ofa reasonably well-

                                            qualified health care provider under the same or similar circumstances.

                                                    240.   At all times material, PALOS, individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees, including without limit,

                                            HALPERN, VAN BEEK, and/or others, and each of them, were negligent in one or more of the

                                            ways:

                                                           a. Failing to timely diagnose and treat Plaintiff, LUMPKINS;

                                                           b. Failing to the significance of Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints;

                                                           c. Failing to fully communicate Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints to others;

                                                           d. Delaying treatment for Plaintiff, LUMPKINS,infection and brain injury; and/or

                                                           e. Was otherwise negligent.


                                                    241.   As a direct and proximate result of the aforementioned acts and/or omissions of,

                                            PALOS, individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, HALPERN, VAN BEEK, and/or

                                            others, and each of them, Plaintiff, LUMPKINS, was injured, has endured and will in the future

                                            endure pain and suffering; has become disabled and disfigured; has suffered a loss of the


                                                                                            67
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 75 of 91 PageID #:89




                                            enjoyment of a normal life; and has been damaged in his capacity to earn a living; and has incurred

                                            past and future medical expenses.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   242.     Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.

                                                   243.     Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                   244.     The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiff's counsel regarding

                                            damages sought in this action attached as Exhibit C.

                                                    WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendant, PALOS COMMUNITY

                                            HOSPITAL cl/b/a PALOS HOSPITAL d/b/a NORTHWESTERN MEDICINE PALOS

                                            HOSPITAL, individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, LEIGH A. HALPERN, M.D.,

                                            DARREN B. VAN BEEK, M.D., and each of them, for such sum of money in excess of FIFTY

                                            THOUSAND DOLLARS ($50,000.00) as shall represent just and fair representation.

                                                                                    COUNT IV
                                                                    (Medical Negligence — Leigh A. Halpern, M.D.)

                                                   1-238. Plaintiff realleges and incorporated by reference '111-238 stated fully herein.

                                                   239.     On or about September 10, 2019, and at all times material,             HALPERN,

                                            individually, aid as actual agents, apparent agents, and/or employees of PALOS,CEP ILLINOIS,

                                            and/or VITUITY, and each of them, had a duty to possess and apply the knowledge and exercise

                                            the care and skill of a reasonably well-qualified health care provider under the same or similar

                                            circumstances


                                                                                             68
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 76 of 91 PageID #:90




                                                   240.    At all times material, HALPERN, individually, and as actual agents, apparent
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            agents, and/or 'employees of PALOS, CEP ILLINOIS, and/or VITUITY, was negligent in one or

                                            more of the ways:

                                                           a. Failing to timely diagnose and treat Plaintiff, LUMPKINS;

                                                           b. Failing to the significance of Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints;

                                                           c. Failing to fully communicate Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints to others;

                                                           d. Delaying treatment for Plaintiff, LUMPKINS,infection and brain injury; and/or

                                                           e. Was otherwise negligent.

                                                   241.    As a direct and proximate result of the aforementioned acts and/or omissions of,

                                            HALPERN,individually, and as actual agents, apparent agents, and/or employees ofPALOS,CEP

                                            ILLINOIS, and/or VITUITY, Plaintiff, LUMPKINS, was injured, has endured and will in the

                                            future endure pain and suffering; has become disabled and disfigured; has suffered a loss of the

                                            enjoyment of a normal life; and has been damaged in his capacity to earn a living; and has incurred

                                            past and future medical expenses.

                                                   242.    Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.

                                                   243.    Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                   244. , The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiff's counsel regarding

                                            damages sought in this action attached as Exhibit C.




                                                                                             69
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 77 of 91 PageID #:91




                                                    WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendant, LEIGH A. HALPERN, M.D.,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            DARREN B. VAN BEEK,M.D.,; LEIGH A. HALPERN, M.D., individually, and as actual agent,

                                            apparent agent, and/or employee of PALOS COMMUNITY HOSPITAL ci/b/a PALOS

                                            HOSPITAL d/b/a NORTHWESTERN MEDICINE PALOS HOSPITAL, CEP AMERICA-

                                            ILLINOIS, LLP,and/or CEP AMERICA LLC d/b/a VITUITY,and each of them,for such sum of

                                            money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall represent just and fair

                                            representation.


                                                                                      COUNT V
                                                                    (Medical Negligence — CEP America-Illinois, LLP)

                                                   1-238. Plaintiff realleges and incorporated by reference ¶1-238 stated fully herein.

                                                   239.    On or about September 10, 2019, and at all times material, CEP AMERICA,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees, including without limit, HALPERN,and/or others, and each ofthem, had a duty

                                            to possess and apply the knowledge and exercise the care and skill of a reasonably well-qualified

                                            health care provider under the same or similar circumstances

                                                   240.       At all times material, CEP AMERICA,individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees, including without limit,

                                            HALPERN,and/or others, and each of them, was negligent in one or more of the ways:

                                                          a. Failing to timely diagnose and treat Plaintiff, LUMPKINS;

                                                          b. Failing to the significance of Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                             complaints;

                                                          c. Failing to fully communicate Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                             complaints to others;



                                                                                             70
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 78 of 91 PageID #:92




                                                           d. Delaying treatment for Plaintiff, LUMPKINS,infection and brain injury; and/or

                                                           e. Was otherwise negligent.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                    241.    As a direct and proximate result of the aforementioned acts and/or omissions of,

                                            CEP AMERICA,individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, HALPERN, and/or others, and each

                                            of them, Plaintiff, LUMPKINS, was injured, has endured and will in the future endure pain and

                                            suffering; has become disabled and disfigured; has suffered a loss of the enjoyment of a normal

                                            life; and has been damaged in his capacity to earn a living; and has incurred past and future medical

                                            expenses.

                                                    242.   Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.

                                                    243.   Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                    244.   The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiff's counsel regarding

                                            damages sought in this action attached as Exhibit C.

                                                     WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP,demands judgment against Defendant, CEP AMERICA-ILLINOIS, LLP,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees, including, without limit, LEIGH A. HALPERN, M.D., and each of them, for

                                            such sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall represent

                                            just and fair representation.




                                                                                             71
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 79 of 91 PageID #:93




                                                                                      COUNT V
                                                                 (Medical Negligence — CEP America LLC d/b/a Vituity)
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                    1-238. Plaintiff realleges and incorporated by reference ¶1-238 stated fully herein.

                                                   239.    On or about September 10,2019,and at all times material„ VITUITY,individually,

                                            and by and through the actions and/or omissions of its actual agents, apparent agents, and/or

                                            employees, including without limit, HALPERN, and/or others, and each of them, had a duty to

                                            possess and apply the knowledge and exercise the care and skill of a reasonably well-qualified

                                            health care provider under the same or similar circumstances

                                                   240.    At all times material, VITUITY,individually, and by and through the actions and/or

                                            omissions of its actual agents, apparent agents, and/or employees, including without limit,

                                            HALPERN,and/or others, and each of them, was negligent in one or more of the ways:

                                                          E..   Failing to timely diagnose and treat Plaintiff, LUMPKINS;

                                                          b. Failing to the significance of Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                             complaints;

                                                          c. Failing to fully communicate Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                             complaints to others;

                                                          d. Delaying treatment for Plaintiff, LUMPKINS,infection and brain injury; and/or

                                                          e. Was otherwise negligent.

                                                   241.    As a direct and proximate result of the aforementioned acts and/or omissions of,

                                            VITUITY, in6vidually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, HALPERN, and/or others, and each

                                            of them, Plain:iff, LUMPKINS, was injured, has endured and will in the future endure pain and

                                            suffering; has become disabled and disfigured; has suffered a loss of the enjoyment of a normal

                                            life; and has been damaged in his capacity to earn a living; and has incurred past and future medical

                                            expenses.


                                                                                             72
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 80 of 91 PageID #:94




                                                   242.     Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                   243.     Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                   244.     The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiffs counsel regarding

                                            damages sought in this action attached as Exhibit C.

                                                    WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendant, CEP AMERICA LLC d/b/a

                                            VITUITY, individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including, without limit, LEIGH A. HALPERN, M.D., and

                                            each of them, for such sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00)

                                            as shall represent just and fair representation.


                                                                                    COUNT VI
                                                                   (Medical Negligence — Darren B. Van Beek, M.D.)

                                                    1-238. Plaintiff realleges and incorporated by reference 11-238 stated fully herein.

                                                   239.     On or about September 10, 2019, and at all times material,           VAN BEEK,

                                            individually, and as actual agents, apparent agents, and/or employees of PALOS, and/or

                                            RADIOLOGY,and each of them, had a duty to possess and apply the knowledge and exercise the

                                            care and skill of a reasonably well-qualified health care provider under the same or similar

                                            circumstances




                                                                                               73
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 81 of 91 PageID #:95




                                                    240.   At all times material, VAN BEEK, individually, and as actual agents, apparent

                                            agents, and/or employees of PALOS, and/or RADIOLOGY, was negligent in one or more of the
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            ways:

                                                           a. Failing to timely diagnose and treat Plaintiff, LUMPKINS;

                                                           b. Failing to the significance of Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints;

                                                           c. Failing to fully communicate Plaintiff, LUMPKINS, signs, symptoms, and/or
                                                              complaints to others;

                                                           d.   Delaying treatment for Plaintiff, LUMPKINS,infection and brain injury; and/or

                                                           e. Was otherwise negligent.


                                                    241.   As a direct and proximate result of the aforementioned acts and/or omissions of,

                                            VAN BEEK,individually, and as actual agent, apparent agent, and/or employee ofPALOS,and/or

                                            RADIOLOGY,Plaintiff, LUMPKINS,was injured, has endured and will in the future endure pain

                                            and suffering; has become disabled and disfigured; has suffered a loss ofthe enjoyment of a normal

                                            life; and has been damaged in his capacity to earn a living; and has incurred past and future medical

                                            expenses.

                                                    242.   Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.

                                                    243.   Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                    244.   The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiff's counsel regarding

                                            damages sought in this action attached as Exhibit C.




                                                                                             74
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 82 of 91 PageID #:96




                                                     WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendant, DARREN B. VAN BEEK, M.D.,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            individually, and as actual agent, apparent agent, and/or employee of PALOS COMMUNITY

                                            HOSPITAL d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN MEDICINE PALOS

                                            HOSPITAL, and/or RADIOLOGY & NUCLEAR CONSULTANTS,LTD.,and each ofthem,for

                                            such sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall represent

                                            just and fair representation.


                                                                                    COUNT VII
                                                            (Medical Negligence — Radiology & Nuclear Consultants, LTD.)

                                                    1-238. Plaintiff realleges and incorporated by reference 111-238 stated fully herein.

                                                    239.   On or about September 10, 2019, and at all times material, RADIOLOGY,

                                            individually, and by and through the actions and/or omissions of its actual agents, apparent agents,

                                            and/or employees, including without limit, VAN BEEK, and/or others, and each of them, had a

                                            duty to possess and apply the knowledge and exercise the care and skill of a reasonably well-

                                            qualified health care provider under the same or similar circumstances

                                                    240.    At all times material, RADIOLOGY, individually, and by and through the actions

                                            and/or omissions of its actual agents, apparent agents, and/or employees, including without limit,

                                            VAN BEEK, and/or others, and each ofthem, was negligent in one or more of the ways:

                                                           a. Failing to properly diagnose and treat Plaintiff, LUMPKINS;

                                                            b. Failing to advise Plaintiff, LUMPKINS, to a specialist for treatment of his
                                                               complaints, signs, and/or conditions;

                                                           c. Failing to refer Plaintiff, LUMPKINS, to a specialist for treatment of his
                                                              complaints, signs, and/or conditions; and/or

                                                           d. Was otherwise negligent.



                                                                                            75
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 83 of 91 PageID #:97




                                                   241.    As a direct and proximate result of the aforementioned acts and/or omissions of,
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            RADIOLOGY,individually, and by and through the actions and/or omissions of its actual agents,

                                            apparent agents, and/or employees, including without limit, VAN BEEK,and/or others, and each

                                            of them, Plaintiff, LUMPKINS, was injured, has endured and will in the future endure pain and

                                            suffering; has become disabled and disfigured; has suffered a loss of the enjoyment of a normal

                                            life; and has been damaged in his capacity to earn a living; and has incurred past and future medical

                                            expenses.

                                                   242.    Pursuant to Illinois Code of Civil Procedure, section 2-622, the Affidavit of

                                            Attorney for Plaintiff is attached hereto as Exhibit A.

                                                   243.    Pursuant to Illinois Code of Civil Procedure, section 2-622, reports of health care

                                            professionals are attached hereto as Exhibit B

                                                   244.    The damages sought in this cause of action exceed the jurisdictional limit of the

                                            Circuit court of Cook County's Law Division. See Affidavit of Plaintiffs counsel regarding

                                            damages sought in this action attached as Exhibit C.

                                                    WHEREFORE, Plaintiff, MICHAEL A. LUMPKINS, by and through his attorneys,

                                            SMITH LACIEN LLP, demands judgment against Defendant, RADIOLOGY & NUCLEAR

                                            CONSULTANTS, LTD., including, without limit, DARREN B. VAN BEEK, M.D., and each of

                                            them,for such sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000.00) as shall

                                            represent just and fair representation.




                                                                                             76
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 84 of 91 PageID #:98




                                                                                     Respectfully Submitted,

                                                                                     SMITH LACIEN LLP
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                                                     /s/Brian LaCien
                                                                                     Attorneyfor Plaintiff

                                                 Brian LaCien
                                                 Todd A. Smith
                                                 SMITH LAC1EN LLP
                                                70 West Madison Street
                                                 Suite 2250
                                                 Chicago, IL 60602
                                                (312)509-8900
                                                 Attorney No. 64554
                                             Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 85 of 91 PageID #:99




                                                           IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                 COUNTY DEPARTMENT,LAW DIVISION
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            MICHAEL A. LUMPKINS


                                                   Plaintiff,                                               Case No.

                                            V.                                                              JURY DEMANDED
                                                                                                        )
                                            JUUL LABS,INC., previously d/b/a as PAX LABS,INC. )
                                            and PLOOM INC, individually, and by and through the         )
                                            actions and/or omissions of its actual agents, apparent     )
                                            agents, and or employees; ALTRIA GROUP,INC.,                )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; PHILIP MORRIS USA,INC., individually, )
                                            and by and through the actions and/or omissions of its      )
                                            actual agents, apparent agents, and/or employees;           )
                                            ALTRIA CLIENT SERVICES LLC, individually, and               )
                                            by and through the actions and/or omissions of its actual )
                                            agents, apparent agents, and/or employees; ALTRIA           )
                                            GROUP DISTRIBUTION COMPANY,individually, and )
                                            by and through the actions and/or omissions of its actual )
                                            agents, apparent agents, and/or employees; ALTRIA           )
                                            ENTERPRISES LLC, individually, and by and through           )
                                            the actions and/or omissions of its actual agents, apparent )
                                            agents, and/or employees; MOTHER MURPHY'S LABS, )
                                            INC., individually, and by and through the actions and/or )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; ALTERNATIVE INGREDIENTS,INC.,                    )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; TOBACCO TECHNOLOGY,INC.,                         )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; ELIQUITECH, INC., individually, and by and )
                                            through the actions and/or omissions of its actual agents, )
                                            apparent agents, and/or employees; MCLANE                   )
                                            COMPANY, ENC., individually, and by and through the )
                                            actions and/or omissions of its actual agents, apparent     )
                                            agents, and/or employees; EBY-BROWN COMPANY, )
                                            LLC, individually, and by and through the actions and/or )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; CORE-MARK HOLDING                                )
                                            COMPANY,INC., individually, and by and through the )


                                                                                          78
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 86 of 91 PageID #:100




                                            actions and/or omissions of its actual agents, apparent    )
                                            agents, and/or employees; WALGREENS CO.,                   )
                                            individually, and by and through the actions and/or        )
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            omissions of i:s actual agents, apparent agents,           )
                                            and/or employees; PALOS COMMUNITY HOSPITAL )
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN                    )
                                            MEDICINE PALOS HOSPITAL, individually, and by              )
                                            and through the actions and/or omissions of its actual     )
                                            agents, apparent agents, and/or employees, including       )
                                            without limit, LEIGH A. HALPERN, M.D., DARREN              )
                                            B. VAN BEEK, M.D.; LEIGH A. HALPERN, M.D.,                 )
                                            individually, and as actual agent, apparent agent, and/or )
                                            employee of PALOS COMMUNITY HOSPITAL                       )
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN                    )
                                            MEDICINE PALOS HOSPITAL, CEP AMERICA-                      )
                                            ILLINOIS, LLP, and/or CEP AMERICA LLC d/b/a                )
                                            VITUITY; CEP AMERICA-ILLINOIS, LLP, individually,)
                                            and by and through the actions and/or omissions of its     )
                                            actual agents, apparent agents, and/or employees, including,)
                                             without limit, LEIGH A. HALPERN, M.D.; CEP                )
                                            AMERICA LLC d/b/a VITUITY, individually, and by            )
                                            and through the actions and/or omissions of its actual     )
                                            agents, apparent agents, and/or employees, including,      )
                                            without limit, LEIGH A. HALPERN, M.D.; DARREN B. )
                                            VAN BEEK, M.D., individually, and as actual agent,         )
                                            apparent agent, and/or employee of PALOS                   )
                                            COMMUNITY HOSPITAL d/b/a PALOS HOSPITAL                    )
                                            d/b/a NORTHWESTERN MEDICINE PALOS                          )
                                            HOSPITAL, and/or RADIOLOGY & NUCLEAR                       )
                                            CONSULTANTS, LTD.; and/or RADIOLOGY &                      )
                                            NUCLEAR CONSULTANTS,LTD., including, without )
                                            limit, DARREN B. VAN BEEK, M.D.                            )
                                                                                                       )
                                                    Defendants.                                        )


                                                                                      AFFIDAVIT


                                            The Affiant Brian LaCien, being duly sworn on oath states:

                                                      1. I am one of the attorneys for the Plaintiff in the above cause of action.

                                                      2. Our office was unable to obtain a consultation by a qualified health professional
                                                      pricr to filing this action because the statute of limitations would impair the action and
                                                      the consultation required under 735 ILCS 5/2-622(a)(1) could not be obtained before
                                                      the expiration of the limitations period.

                                                                                            79
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 87 of 91 PageID #:101




                                                      3. That a request has been made by the plaintiff for examination and copying of
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                      records pursuant to Part 20 of Article VIII of this Code and the party required to
                                                      comply under those Sections has failed to produce such records within 60 days of the
                                                      receipt of this request.

                                                      4. That the Certificate and Written Report required by paragraph 1 shall be filed
                                                      within 90 days following receipt of the required records. All defendants, except those
                                                      whose failure to comply with Part 20 Article VIII of this code is the basis for an
                                                      affidavit under this paragraph, shall be excused from answering or otherwise pleading
                                                      until 30 days after being served with the certificate required paragraph 1.




                                                   FURTHER AFFIANT SAYETH NOT.




                                                                                                        Brian LaCien


                                            Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
                                            undersigned certifies that the statements set forth in this instrument are true and correct, except
                                            as to matters therein stated to be on information and belief and as to such matters the
                                            undersigned certifies as aforesaid that he verily believes the same to be true.

                                            SMITH LACIEN LLP
                                            70 West Madison Street, Suite 2250
                                            Chicago, IL 60602-4212
                                            Phone:(312)509-8900
                                            Attorney No. 64554




                                                                                            80
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 88 of 91 PageID #:102
                                                                                                                         FILED
                                                                                                                         9/10/2021 8:29 PM
                                                                                                                         IRIS Y. MARTINEZ
                                                                                                                         CIRCUIT CLERK
                                                                                                                         COOK COUNTY, IL
                                                           IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                 COUNTY DEPARTMENT,LAW DIVISION
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            MICHAEL A. LUMPKINS


                                                   Plaintiff,                                               Case No2021L009092

                                            V.                                                              JURY DEMANDED
                                                                                                        )
                                            JUUL LABS,INC., previously d/b/a as PAX LABS,INC. )
                                            and PLOOM INC, individually, and by and through the         )
                                            actions and/or omissions of its actual agents, apparent     )
                                            agents, and or employees; ALTRIA GROUP,INC.,                )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; PHILIP MORRIS USA, INC., individually, )
                                            and by and through the actions and/or omissions of its      )
                                            actual agents, apparent agents, and/or employees;           )
                                            ALTRIA CLIENT SERVICES LLC, individually, and               )
                                            by and through the actions and/or omissions of its actual )
                                            agents, apparent agents, and/or employees; ALTRIA           )
                                            GROUP DISTRIBUTION COMPANY,individually, and )
                                            by and through the actions and/or omissions of its actual )
                                            agents, apparent agents, and/or employees; ALTRIA           )
                                            ENTERPRISES LLC, individually, and by and through           )
                                            the actions and/or omissions of its actual agents, apparent )
                                            agents, and/or employees; MOTHER MURPHY'S LABS, )
                                            INC., individually, and by and through the actions and/or )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; ALTERNATIVE INGREDIENTS,INC.,                    )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; TOBACCO TECHNOLOGY,INC.,                         )
                                            individually, and by and through the actions and/or         )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; ELIQUITECH,INC., individually, and by and )
                                            through the actions and/or omissions of its actual agents, )
                                            apparent agents, and/or employees; MCLANE                   )
                                            COMPANY,INC., individually, and by and through the )
                                            actions and/or omissions of its actual agents, apparent     )
                                            agents, and/or employees; EBY-BROWN COMPANY, )
                                            LLC, individually, and by and through the actions and/or )
                                            omissions of its actual agents, apparent agents, and/or     )
                                            employees; CORE-MARK HOLDING                                )
                                            COMPANY,INC., individually, and by and through the )


                                                                                          81
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 89 of 91 PageID #:103




                                            actions and/or omissions of its actual agents, apparent    )
                                            agents, and/or employees; WALGREENS CO.,                   )
                                            individually, and by and through the actions and/or        )
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            omissions  of its actual agents, apparent agents,          )
                                            and/or employees; PALOS COMMUNITY HOSPITAL )
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN                    )
                                            MEDICINE     PALOS     HOSPITAL,     individually, and by  )
                                            and through the actions and/or omissions of its actual     )
                                            agents, apparent agents, and/or employees, including       )
                                            without limit, LEIGH A. HALPERN, M.D., DARREN              )
                                            B. VAN BEEK, M.D.; LEIGH A. HALPERN, M.D.,                 )
                                            individually, and as actual agent, apparent agent, and/or )
                                            employee of PALOS COMMUNITY HOSPITAL                       )
                                            d/b/a PALOS HOSPITAL d/b/a NORTHWESTERN                    )
                                            MEDICINE PALOS HOSPITAL, CEP AMERICA-                      )
                                            ILLINOIS, LLP, and/or CEP AMERICA LLC d/b/a                )
                                            VITUITY; CEP AMERICA-ILLINOIS, LLP, individually,)
                                            and by and through the actions and/or omissions of its     )
                                            actual agents, apparent agents, and/or employees, including,)
                                             without limit, LEIGH A. HALPERN, M.D.; CEP
                                            AMERICA LLC d/b/a VITUITY, individually, and by.
                                            and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees, including,
                                            without limit, LEIGH A. HALPERN, M.D.; DARREN B.
                                            VAN BEEK, M.D., individually, and as actual agent,
                                            apparent agent, and/or employee of PALOS
                                            COMMUNITY HOSPITAL d/b/a PALOS HOSPITAL
                                            d/b/a NORTHWESTERN MEDICINE PALOS
                                            HOSPITAL, and/or RADIOLOGY & NUCLEAR
                                            CONSULTANTS,LTD.; and/or RADIOLOGY &
                                            NUCLEAR CONSULTANTS,LTD., including, without
                                            limit, DARREN B. VAN BEEK, M.D.

                                                   Defendants.

                                                                                     AFFIDAVIT


                                            The Affiant Brian LaCien, being duly sworn on oath states:

                                                      5. lam one of the attorneys for the Plaintiff in the above cause of action.

                                                      6. The money damages sought in this cause of action are in excess of fifty thousand
                                                      dollars($ 50,000.00).

                                                   FURTHER AFFIANT SAYETH NOT.
                                                                                                                           -
                                                                                           82
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 90 of 91 PageID #:104




                                                                                                        Brian LaCien
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                            Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
                                            undersigned certifies that the statements set forth in this instrument are true and correct, except
                                            as to matters therein stated to be on information and belief and as to such matters the
                                            undersigned certifies as aforesaid that he verily believes the same to be true.

                                            SMITH LACIEN LLP
                                            70 West Madison Street, Suite 2250
                                            Chicago, IL 60602-4212
                                            Phone:(312)509-8900
                                            Attorney No.64554




                                                                                            83
                                            Case: 1:21-cv-05959 Document #: 1-1 Filed: 11/05/21 Page 91 of 91 PageID #:105
                                                                                   12-Person Jury


                                                                                                    FILED
                                                                                                    9/10/2021 8:29 PM
                                                       IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                             COUNTY DEPARTMENT,LAW DIVISION         CIRCUIT CLERK
                                                                                                    COOK COUNTY, IL
FILED DATE: 9/10/2021 8:29 PM 2021L009092




                                                                                                     14780024
                                            MICHAEL A. LUMPKINS

                                                                                                                     2021L009092
                                                   Plaintiff,                                             Case No.

                                            V.                                                            JURY DEMANDED

                                            JUUL LABS,INC., previously d/b/a as PAX LABS,INC.
                                            and PLOOM INC, individually, and by and through the
                                            actions and/or omissions of its actual agents, apparent
                                            agents, and or employees; ALTRIA GROUP,INC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; PHILIP MORRIS USA,INC., individually,
                                            and by and through the actions and/or omissions of its
                                            actual agents, apparent agents, and/or employees;
                                            ALTRIA CLIENT SERVICES LLC, individually, and
                                            by and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees; ALTRIA
                                            GROUP DISTRIBUTION COMPANY,individually, and
                                            by and through the actions and/or omissions of its actual
                                            agents, apparent agents, and/or employees; ALTRIA
                                            ENTERPRISES LLC, individually, and by and through
                                            the actions and/or omissions of its actual agents, apparent
                                            agents, and/or employees; MOTHER MURPHY'S LABS,
                                            INC., individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; ALTERNATIVE INGREDIENTS, MC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; TOBACCO TECHNOLOGY,INC.,
                                            individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; ELIQUITECH,INC., individually, and by and
                                            through the actions and/or omissions of its actual agents,
                                            apparent agents, and/or employees; MCLANE
                                            COMPANY,INC., individually, and by and through the
                                            actions and/or omissions of its actual agents, apparent
                                            agents, and/or employees; EBY-BROWN COMPANY,
                                            LLC, individually, and by and through the actions and/or
                                            omissions of its actual agents, apparent agents, and/or
                                            employees; CORE-MARK HOLDING
                                            COMPANY,INC., individually, and by and through the
